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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer              Policy Number    Layer
06/30/76     06/30/77 Mutual Reinsurance Co. Ltd.          76DD1594C               1
06/30/77     06/30/78 Mutual Reinsurance Co. Ltd.          76DD1594C               1
06/30/78     06/30/79 Mutual Reinsurance Co. Ltd.          76DD1594C               1
06/30/76     06/30/77 Mutual Reinsurance Co. Ltd.          76DD1595C               2
06/30/77     06/30/78 Mutual Reinsurance Co. Ltd.          76DD1595C               2
06/30/78     06/30/79 Mutual Reinsurance Co. Ltd.          76DD1595C               2
06/30/77     06/30/78 Mutual Reinsurance Co. Ltd.          77DD1631C               4
06/30/77     06/30/78 Mutual Reinsurance Co. Ltd.          77DD1632C               5
06/30/78     06/30/79 Mutual Reinsurance Co. Ltd.          78DD1417C               3
06/30/78     06/30/79 Mutual Reinsurance Co. Ltd.          78DD1418C               4
06/30/79     06/30/80 Mutual Reinsurance Co. Ltd.          79DD1633C               1
06/30/80     06/30/81 Mutual Reinsurance Co. Ltd.          79DD1633C               1
06/30/81     06/30/82 Mutual Reinsurance Co. Ltd.          79DD1633C               1
06/30/79     06/30/80 Mutual Reinsurance Co. Ltd.          79DD1634C               2
06/30/79     06/30/80 Mutual Reinsurance Co. Ltd.          79DD1635C               3
06/30/79     06/30/80 Mutual Reinsurance Co. Ltd.          79DD1636C               4
06/30/80     06/30/81 Mutual Reinsurance Co. Ltd.          80DD1643C               2
06/30/81     06/30/82 Mutual Reinsurance Co. Ltd.          80DD1643C               2
06/30/80     06/30/81 Mutual Reinsurance Co. Ltd.          80DD1644C               3
06/30/80     06/30/81 Mutual Reinsurance Co. Ltd.          80DD1645C               4
06/30/82     06/30/83 Mutual Reinsurance Co. Ltd.          KY017582                1
06/30/83     06/30/84 Mutual Reinsurance Co. Ltd.          KY017582                1
06/30/84     06/30/85 Mutual Reinsurance Co. Ltd.          KY017582                1
06/30/82     06/30/83 Mutual Reinsurance Co. Ltd.          KY017782                2
06/30/83     06/30/84 Mutual Reinsurance Co. Ltd.          KY017782                2
06/30/84     06/30/85 Mutual Reinsurance Co. Ltd.          KY017782                2
06/30/82     06/30/83 Mutual Reinsurance Co. Ltd.          KY017882                3
06/30/83     06/30/84 Mutual Reinsurance Co. Ltd.          KY048183                3
06/30/84     06/30/85 Mutual Reinsurance Co. Ltd.          KY048183                3
06/30/81     06/30/82 Mutual Reinsurance Co. Ltd.          PY030181                3
06/30/81     06/30/82 Mutual Reinsurance Co. Ltd.          PY030281                4
06/30/74     06/30/75 National Casualty Co. of America     74DD662C                3
06/30/74     06/30/75 National Casualty Co. of America     74DD662C                3
06/30/75     06/30/76 National Casualty Co. of America     74DD662C                5
06/30/75     06/30/76 National Casualty Co. of America     74DD662C                5
06/30/76     06/30/77 National Casualty Co. of America     74DD662C                4
06/30/76     06/30/77 National Casualty Co. of America     74DD662C                4
07/17/74     06/30/75 National Casualty Co. of America     74DD663C                6
07/17/74     06/30/75 National Casualty Co. of America     74DD663C                6
06/30/75     06/30/76 National Casualty Co. of America     74DD663C                8
06/30/75     06/30/76 National Casualty Co. of America     74DD663C                8
06/30/83     06/30/84 National Casualty Co. of America     XU000042                5
06/30/77     06/30/78 Natl Union Fire Pttsbrgh             1228593                 6
06/30/77     06/30/78 Natl Union Fire Pttsbrgh             1228593.                7
06/30/77     06/30/78 Natl Union Fire Pttsbrgh             1228593..               8
06/30/78     06/30/79 Natl Union Fire Pttsbrgh             1231895                 5
06/30/78     06/30/79 Natl Union Fire Pttsbrgh             1231895.                6
06/30/78     06/30/79 Natl Union Fire Pttsbrgh             1231895..               7
06/30/81     06/30/82 Natl Union Fire Pttsbrgh             9602931                 4
06/30/81     06/30/82 Natl Union Fire Pttsbrgh             9602931.                5
06/30/81     06/30/82 Natl Union Fire Pttsbrgh             9602931..               6

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer              Policy Number    Layer
06/30/81     06/30/82 Natl Union Fire Pttsbrgh              9602931...              7
06/30/82     06/30/83 Natl Union Fire Pttsbrgh              9603133                 3
06/30/82     06/30/83 Natl Union Fire Pttsbrgh              9603133.                4
06/30/82     06/30/83 Natl Union Fire Pttsbrgh              9603133..               5
06/30/83     06/30/84 Natl Union Fire Pttsbrgh              9607141                 3
06/30/83     06/30/84 Natl Union Fire Pttsbrgh              9607141.                4
06/30/83     06/30/84 Natl Union Fire Pttsbrgh              9607141..               5
06/30/79     06/30/80 Natl Union Fire Pttsbrgh              9782319                 4
06/30/79     06/30/80 Natl Union Fire Pttsbrgh              9782319.                5
06/30/79     06/30/80 Natl Union Fire Pttsbrgh              9782319..               6
06/30/79     06/30/80 Natl Union Fire Pttsbrgh              9782319...              7
06/30/80     06/30/81 Natl Union Fire Pttsbrgh              9910362                 4
06/30/80     06/30/81 Natl Union Fire Pttsbrgh              9910362.                5
06/30/80     06/30/81 Natl Union Fire Pttsbrgh              9910362..               6
06/30/80     06/30/81 Natl Union Fire Pttsbrgh              9910362...              7
06/30/75     06/30/76 New Hampshire Insurance               51750444                2
06/30/75     06/30/76 New Hampshire Insurance               51750445                3
07/17/74     06/30/75 North Atlantic Ins. Co. Ltd.          74DD663C                6
06/30/75     06/30/76 North Atlantic Ins. Co. Ltd.          74DD663C                8
06/30/76     06/30/77 North Atlantic Ins. Co. Ltd.          74DD663C                7
06/30/77     06/30/78 North Atlantic Ins. Co. Ltd.          77DD1826                8
06/30/78     06/30/79 North Atlantic Ins. Co. Ltd.          78DD1418C               4
06/30/78     06/30/79 North Atlantic Ins. Co. Ltd.          78DD1420C               7
06/30/79     06/30/80 North Atlantic Ins. Co. Ltd.          79DD1638C               7
06/30/80     06/30/81 North Atlantic Ins. Co. Ltd.          80DD1647C               7
07/17/74     06/01/75 North Star Reinsurance                NXS12398                6
06/30/75     06/30/76 Northbrook Ins Co                     63001170                1
06/30/75     06/30/76 Northbrook Ins Co                     63001171                2
06/30/75     06/30/76 Northbrook Ins Co                     63001172                3
06/30/75     06/30/76 Northbrook Ins Co                     63001173                6
06/30/76     06/30/77 Northbrook Ins Co                     63002048                1
06/30/77     06/30/78 Northbrook Ins Co                     63002048                1
06/30/78     06/30/79 Northbrook Ins Co                     63002048                1
06/30/76     06/30/77 Northbrook Ins Co                     63002049                5
06/30/77     06/30/78 Northbrook Ins Co                     63003296                6
06/30/78     06/30/79 Northbrook Ins Co                     63004784                5
06/30/79     06/30/80 Northbrook Ins Co                     63005793                1
06/30/80     06/30/81 Northbrook Ins Co                     63005793                1
06/30/81     06/30/82 Northbrook Ins Co                     63005793                1
06/30/79     06/30/80 Northbrook Ins Co                     63005794                2
06/30/79     06/30/80 Northbrook Ins Co                     63005795                4
06/30/80     06/30/81 Northbrook Ins Co                     63006854                2
06/30/80     06/30/81 Northbrook Ins Co                     63006855                4
06/30/81     06/30/82 Northbrook Ins Co                     63008153                2
06/30/81     06/30/82 Northbrook Ins Co                     63008154                4
05/17/66     10/20/66 Orion Ins. Co. Ltd.                   66/180390               8
10/20/66     10/20/67 Orion Ins. Co. Ltd.                   66/180390               8
10/20/67     10/20/68 Orion Ins. Co. Ltd.                   66/180390               8
06/30/84     06/30/85 Pacific Employers Ins Co              XCC012283               2
06/30/84     06/30/85 Pacific Employers Ins Co              XM0017204               1
06/30/81     06/30/82 Protective Nat'l Ins Co               XUB1806925              7

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer              Policy Number        Layer
06/30/82     06/30/83 Protective Nat'l Ins Co               XUB1807108                  5
06/30/83     06/30/84 Protective Nat'l Ins Co               XUB1807216                  5
06/30/76     06/30/77 Prudential Reinsurance                DXC901145                   2
06/30/76     06/30/77 Prudential Reinsurance                DXC901146                   5
06/30/76     06/30/77 Prudential Reinsurance                DXC901147                   6
06/30/77     06/30/78 Prudential Reinsurance                DXCDX0250                   3
06/30/77     06/30/78 Prudential Reinsurance                DXCDX0251                   4
06/30/77     06/30/78 Prudential Reinsurance                DXCDX0252                   5
06/30/83     06/30/84 Republic Insurance Co                 CDE0749                     4
06/30/83     06/30/84 Republic Insurance Co                 CDE0750                     5
06/30/77     06/30/78 Reunion-Adriatica                     EL2046                      7
06/30/78     06/30/79 Reunion-Adriatica                     EL2787                      6
06/30/79     06/30/80 Reunion-Adriatica                     EL794120                    5
06/30/80     06/30/81 Reunion-Adriatica                     EL794416                    5
04/01/60     04/01/61 Royal Indemnity Company               RLG021620             Primary
04/01/61     04/01/62 Royal Indemnity Company               RLG021621             Primary
04/01/62     04/01/63 Royal Indemnity Company               RLG021622             Primary
04/01/59     04/01/60 Royal Indemnity Company               RLG021629             Primary
04/01/55     04/01/56 Royal Indemnity Company               RLG035805             Primary
04/01/56     04/01/57 Royal Indemnity Company               RLG045762             Primary
04/01/57     04/01/58 Royal Indemnity Company               RLG045836             Primary
04/01/58     04/01/59 Royal Indemnity Company               RLG053959             Primary
03/31/53     03/31/54 Royal Indemnity Company               RLG27635              Primary
03/31/54     04/01/55 Royal Indemnity Company               RLG31840              Primary
06/30/83     06/30/84 Royal Insurance Co                    ED102071                    5
06/30/83     06/30/84 Royal Insurance Co                    ED102071.                   4
06/30/84     06/30/85 Royale Belge S.A.                     1251427                     4
06/30/77     06/30/78 Royale Belge S.A.                     AVB102.                     8
06/30/78     06/30/79 Royale Belge S.A.                     AVB124.                     7
05/17/66     10/20/66 Sphere Drake Ins. Co. Ltd.            66/180390                   8
10/20/66     10/20/67 Sphere Drake Ins. Co. Ltd.            66/180390                   8
10/20/67     10/20/68 Sphere Drake Ins. Co. Ltd.            66/180390                   8
05/17/66     10/20/66 St. Helens Ins. Co. Ltd.              66/180390                   8
10/20/66     10/20/67 St. Helens Ins. Co. Ltd.              66/180390                   8
10/20/67     10/20/68 St. Helens Ins. Co. Ltd.              66/180390                   8
06/30/74     06/30/75 St. Katherine Ins. Co. Ltd.           74DD662C                    3
06/30/74     06/30/75 St. Katherine Ins. Co. Ltd.           74DD662C                    3
06/30/75     06/30/76 St. Katherine Ins. Co. Ltd.           74DD662C                    5
06/30/75     06/30/76 St. Katherine Ins. Co. Ltd.           74DD662C                    5
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.           74DD662C                    4
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.           74DD662C                    4
07/17/74     06/30/75 St. Katherine Ins. Co. Ltd.           74DD663C                    6
07/17/74     06/30/75 St. Katherine Ins. Co. Ltd.           74DD663C                    6
06/30/75     06/30/76 St. Katherine Ins. Co. Ltd.           74DD663C                    8
06/30/75     06/30/76 St. Katherine Ins. Co. Ltd.           74DD663C                    8
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.           76DD1594C                   1
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.           76DD1594C                   1
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.           76DD1594C                   1
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.           76DD1594C                   1
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.           76DD1594C                   1
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.           76DD1594C                   1

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer             Policy Number    Layer
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/76     06/30/77 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.          76DD1595C               2
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          77DD1631C               4
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          77DD1631C               4
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          77DD1632C               5
06/30/77     06/30/78 St. Katherine Ins. Co. Ltd.          77DD1632C               5
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.          78DD1417C               3
06/30/78     06/30/79 St. Katherine Ins. Co. Ltd.          78DD1418C               4
06/30/79     06/30/80 St. Katherine Ins. Co. Ltd.          79DD1633C               1
06/30/80     06/30/81 St. Katherine Ins. Co. Ltd.          79DD1633C               1
06/30/81     06/30/82 St. Katherine Ins. Co. Ltd.          79DD1633C               1
06/30/79     06/30/80 St. Katherine Ins. Co. Ltd.          79DD1634C               2
06/30/79     06/30/80 St. Katherine Ins. Co. Ltd.          79DD1635C               3
06/30/79     06/30/80 St. Katherine Ins. Co. Ltd.          79DD1636C               4
06/30/80     06/30/81 St. Katherine Ins. Co. Ltd.          80DD1643C               2
06/30/81     06/30/82 St. Katherine Ins. Co. Ltd.          80DD1643C               2
06/30/80     06/30/81 St. Katherine Ins. Co. Ltd.          80DD1644C               3
06/30/80     06/30/81 St. Katherine Ins. Co. Ltd.          80DD1645C               4
05/17/66     10/20/66 Stronghold Ins. Co. Ltd.             66/180390               8
10/20/66     10/20/67 Stronghold Ins. Co. Ltd.             66/180390               8
10/20/67     10/20/68 Stronghold Ins. Co. Ltd.             66/180390               8
06/30/74     06/30/75 Stronghold Ins. Co. Ltd.             74DD662C                3
06/30/75     06/30/76 Stronghold Ins. Co. Ltd.             74DD662C                5
06/30/76     06/30/77 Stronghold Ins. Co. Ltd.             74DD662C                4
07/17/74     06/30/75 Stronghold Ins. Co. Ltd.             74DD663C                6
06/30/75     06/30/76 Stronghold Ins. Co. Ltd.             74DD663C                8
06/30/76     06/30/77 Stronghold Ins. Co. Ltd.             74DD663C                7
06/30/76     06/30/77 Stronghold Ins. Co. Ltd.             76DD1595C               2
06/30/77     06/30/78 Stronghold Ins. Co. Ltd.             76DD1595C               2
06/30/78     06/30/79 Stronghold Ins. Co. Ltd.             76DD1595C               2
06/30/77     06/30/78 Stronghold Ins. Co. Ltd.             77DD1631C               4
06/30/77     06/30/78 Stronghold Ins. Co. Ltd.             77DD1632C               5
06/30/77     06/30/78 Stronghold Ins. Co. Ltd.             77DD1826                8
06/30/78     06/30/79 Stronghold Ins. Co. Ltd.             78DD1417C               3
06/30/78     06/30/79 Stronghold Ins. Co. Ltd.             78DD1418C               4
06/30/78     06/30/79 Stronghold Ins. Co. Ltd.             78DD1420C               7
06/30/79     06/30/80 Stronghold Ins. Co. Ltd.             79DD1635C               3
06/30/79     06/30/80 Stronghold Ins. Co. Ltd.             79DD1638C               7
06/30/80     06/30/81 Stronghold Ins. Co. Ltd.             80DD1644C               3
06/30/80     06/30/81 Stronghold Ins. Co. Ltd.             80DD1647C               7
06/30/82     06/30/83 Stronghold Ins. Co. Ltd.             KY017882                3
06/30/83     06/30/84 Stronghold Ins. Co. Ltd.             KY048183                3
06/30/81     06/30/82 Stronghold Ins. Co. Ltd.             PY030181                3
06/30/81     06/30/82 Stronghold Ins. Co. Ltd.             PY030281                4
06/30/77     06/30/78 Swiss Reinsurance                    ZH/R4020/0601           8
06/30/78     06/30/79 Swiss Reinsurance                    ZH/R4020/0601           7
05/17/66     10/20/66 Swiss Union Gen. Ins. Co. Ltd.       66/180390               8

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer               Policy Number    Layer
10/20/66     10/20/67 Swiss Union Gen. Ins. Co. Ltd.        66/180390               8
10/20/67     10/20/68 Swiss Union Gen. Ins. Co. Ltd.        66/180390               8
06/30/74     06/30/75 Terra Nova Ins. Co. Ltd.              74DD662C                3
06/30/75     06/30/76 Terra Nova Ins. Co. Ltd.              74DD662C                5
06/30/76     06/30/77 Terra Nova Ins. Co. Ltd.              74DD662C                4
06/30/84     06/30/85 Transamerica Ins Co.                  USE13397786             3
06/30/79     06/30/80 Transit Casualty                      SCU955191               3
06/30/79     06/30/80 Transit Casualty                      SCU955192               4
06/30/79     06/30/80 Transit Casualty                      SCU955193               5
06/30/80     06/30/81 Transit Casualty                      SCU955565               2
06/30/80     06/30/81 Transit Casualty                      SCU955566               3
06/30/80     06/30/81 Transit Casualty                      SCU955567               4
06/30/80     06/30/81 Transit Casualty                      SCU955568               5
06/30/81     06/30/82 Transit Casualty                      SCU955978               2
06/30/81     06/30/82 Transit Casualty                      SCU955979               3
06/30/81     06/30/82 Transit Casualty                      SCU955980               4
06/30/81     06/30/82 Transit Casualty                      SCU955981               5
06/30/81     06/30/82 Transit Casualty                      SCU955982               6
06/30/82     06/30/83 Transit Casualty                      SCU956259               2
06/30/82     06/30/83 Transit Casualty                      SCU956260               3
06/30/82     06/30/83 Transit Casualty                      SCU956261               4
06/30/83     06/30/84 Transit Casualty                      SCU956535               2
06/30/83     06/30/84 Transit Casualty                      SCU956536               3
06/30/83     06/30/84 Transit Casualty                      SCU956537               4
06/30/84     06/30/85 Transit Casualty                      SCU956881               2
06/30/84     06/30/85 Transit Casualty                      SCU956882               4
06/30/82     06/30/83 Transit Casualty                      UMB950239               1
06/30/83     06/30/84 Transit Casualty                      UMB950239               1
06/30/84     06/30/85 Transit Casualty                      UMB950239.              1
07/17/74     06/30/75 Turegum Ins. Co.                      74DD663C                6
06/30/75     06/30/76 Turegum Ins. Co.                      74DD663C                8
06/30/76     06/30/77 Turegum Ins. Co.                      74DD663C                7
06/30/76     06/30/77 Turegum Ins. Co.                      76DD1595C               2
06/30/77     06/30/78 Turegum Ins. Co.                      76DD1595C               2
06/30/78     06/30/79 Turegum Ins. Co.                      76DD1595C               2
06/30/77     06/30/78 Turegum Ins. Co.                      77DD1631C               4
06/30/77     06/30/78 Turegum Ins. Co.                      77DD1632C               5
06/30/78     06/30/79 Turegum Ins. Co.                      78DD1417C               3
06/30/78     06/30/79 Turegum Ins. Co.                      78DD1418C               4
06/30/83     06/30/84 Twin City Fire Ins Co                 97CXS100005             5
02/27/73     06/30/73 Unigard Security                      1-0589                  5
06/30/73     06/30/74 Unigard Security                      1-0589                  5
06/30/74     06/30/75 Unigard Security                      1-0589                  4
06/30/74     06/30/75 Unigard Security                      1-2517                  1
10/20/68     10/20/69 US Fire Insurance Co                  XS2108                  4
10/20/69     10/20/70 US Fire Insurance Co                  XS2108                  4
10/20/70     06/30/71 US Fire Insurance Co                  XS2108                  4
06/30/74     06/30/75 Walbrook Ins. Co. Ltd.                74DD662C                3
06/30/75     06/30/76 Walbrook Ins. Co. Ltd.                74DD662C                5
06/30/76     06/30/77 Walbrook Ins. Co. Ltd.                74DD662C                4
07/17/74     06/30/75 Walbrook Ins. Co. Ltd.                74DD663C                6

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                        Insurer               Policy Number    Layer
06/30/75     06/30/76 Walbrook Ins. Co. Ltd.               74DD663C                8
06/30/76     06/30/77 Walbrook Ins. Co. Ltd.               76DD1594C               1
06/30/77     06/30/78 Walbrook Ins. Co. Ltd.               76DD1594C               1
06/30/78     06/30/79 Walbrook Ins. Co. Ltd.               76DD1594C               1
06/30/76     06/30/77 Walbrook Ins. Co. Ltd.               76DD1595C               2
06/30/77     06/30/78 Walbrook Ins. Co. Ltd.               76DD1595C               2
06/30/78     06/30/79 Walbrook Ins. Co. Ltd.               76DD1595C               2
06/30/77     06/30/78 Walbrook Ins. Co. Ltd.               77DD1631C               4
06/30/77     06/30/78 Walbrook Ins. Co. Ltd.               77DD1632C               5
06/30/78     06/30/79 Walbrook Ins. Co. Ltd.               78DD1417C               3
06/30/78     06/30/79 Walbrook Ins. Co. Ltd.               78DD1418C               4
06/30/79     06/30/80 Walbrook Ins. Co. Ltd.               79DD1633C               1
06/30/80     06/30/81 Walbrook Ins. Co. Ltd.               79DD1633C               1
06/30/81     06/30/82 Walbrook Ins. Co. Ltd.               79DD1633C               1
06/30/79     06/30/80 Walbrook Ins. Co. Ltd.               79DD1634C               2
06/30/79     06/30/80 Walbrook Ins. Co. Ltd.               79DD1635C               3
06/30/79     06/30/80 Walbrook Ins. Co. Ltd.               79DD1636C               4
06/30/80     06/30/81 Walbrook Ins. Co. Ltd.               80DD1643C               2
06/30/81     06/30/82 Walbrook Ins. Co. Ltd.               80DD1643C               2
06/30/80     06/30/81 Walbrook Ins. Co. Ltd.               80DD1644C               3
06/30/80     06/30/81 Walbrook Ins. Co. Ltd.               80DD1645C               4
06/30/82     06/30/83 Walbrook Ins. Co. Ltd.               KY017582                1
06/30/83     06/30/84 Walbrook Ins. Co. Ltd.               KY017582                1
06/30/84     06/30/85 Walbrook Ins. Co. Ltd.               KY017582                1
06/30/82     06/30/83 Walbrook Ins. Co. Ltd.               KY017782                2
06/30/83     06/30/84 Walbrook Ins. Co. Ltd.               KY017782                2
06/30/84     06/30/85 Walbrook Ins. Co. Ltd.               KY017782                2
06/30/82     06/30/83 Walbrook Ins. Co. Ltd.               KY017882                3
06/30/83     06/30/84 Walbrook Ins. Co. Ltd.               KY048183                3
06/30/84     06/30/85 Walbrook Ins. Co. Ltd.               KY048183                3
06/30/81     06/30/82 Walbrook Ins. Co. Ltd.               PY030181                3
06/30/81     06/30/82 Walbrook Ins. Co. Ltd.               PY030281                4
07/17/74     06/30/75 Wausau Insurance Co                  053700086732            6
06/30/75     06/30/76 Wausau Insurance Co                  053700086732            8
06/30/76     06/30/77 Wausau Insurance Co                  053700086732            7
06/30/77     06/30/78 Winterthur Swiss Ins. Co.            77DD1631C               4
06/30/77     06/30/78 Winterthur Swiss Ins. Co.            77DD1632C               5
06/30/78     06/30/79 Winterthur Swiss Ins. Co.            78DD1417C               3
06/30/78     06/30/79 Winterthur Swiss Ins. Co.            78DD1418C               4
06/30/80     06/30/81 Winterthur Swiss Ins. Co.            80DD1643C               2
06/30/81     06/30/82 Winterthur Swiss Ins. Co.            80DD1643C               2
06/30/80     06/30/81 Winterthur Swiss Ins. Co.            80DD1644C               3
06/30/80     06/30/81 Winterthur Swiss Ins. Co.            80DD1645C               4
06/30/82     06/30/83 Winterthur Swiss Ins. Co.            KY017582                1
06/30/83     06/30/84 Winterthur Swiss Ins. Co.            KY017582                1
06/30/84     06/30/85 Winterthur Swiss Ins. Co.            KY017582                1
06/30/82     06/30/83 Winterthur Swiss Ins. Co.            KY017782                2
06/30/83     06/30/84 Winterthur Swiss Ins. Co.            KY017782                2
06/30/84     06/30/85 Winterthur Swiss Ins. Co.            KY017782                2
06/30/82     06/30/83 Winterthur Swiss Ins. Co.            KY017882                3
06/30/83     06/30/84 Winterthur Swiss Ins. Co.            KY048183                3

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer              Policy Number    Layer
06/30/84     06/30/85 Winterthur Swiss Ins. Co.            KY048183                3
06/30/81     06/30/82 Winterthur Swiss Ins. Co.            PY030181                3
06/30/81     06/30/82 Winterthur Swiss Ins. Co.            PY030281                4
05/17/66     10/20/66 World Auxiliary Ins. Corp. Ltd.      66/180390               8
10/20/66     10/20/67 World Auxiliary Ins. Corp. Ltd.      66/180390               8
10/20/67     10/20/68 World Auxiliary Ins. Corp. Ltd.      66/180390               8
06/30/75     06/30/76 Yasuda Fire & Marine Ins. Co. Ltd.   74DD662C                5
06/30/76     06/30/77 Yasuda Fire & Marine Ins. Co. Ltd.   74DD662C                4
06/30/75     06/30/76 Yasuda Fire & Marine Ins. Co. Ltd.   74DD663C                8
06/30/76     06/30/77 Yasuda Fire & Marine Ins. Co. Ltd.   74DD663C                7
06/30/76     06/30/77 Zurich Insurance Co                  IRDSR4010               7
06/30/77     06/30/78 Zurich Insurance Co                  IRDSR401072             7
06/30/78     06/30/79 Zurich Insurance Co                  Z17052/3                6
06/30/79     06/30/80 Zurich Insurance Co                  Z17052/4                6
06/30/83     06/30/84 Zurich Insurance Co                  ZIB-70-631-83-C         4
06/30/84     06/30/85 Zurich Insurance Co                  ZIB70631-84-C           4
06/30/84     06/30/85 Zurich Insurance Co                  ZIB70964-84-C           3
06/30/80     06/30/81 Zurich Insurance Co                  ZIB7434/5               6
06/30/81     06/30/82 Zurich Insurance Co                  ZIB7631-81-C            6
06/30/82     06/30/83 Zurich Insurance Co                  ZIB7631-82-C            4
06/30/81     06/30/82 Zurich Insurance Co                  ZIB7632-81-C            7




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                   EXHIBIT 7 TO EXHIBIT BOOK


                                                                                                  EXHIBIT 7

         Intentionally Left Blank.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                   EXHIBIT 8 TO EXHIBIT BOOK
                                    BEST INTERESTS ANALYSIS

                                                                                                  EXHIBIT 8

Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                                      BEST INTERESTS ANALYSIS
                                              INTRODUCTION

Pursuant to section 1129(a)(7) of the Bankruptcy Code,1 each Holder of an impaired Claim or
Equity Interest must either (a) accept the Plan or (b) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such non-accepting Holder would
receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code (often
referred to as the "Best Interests Test"). In connection with this requirement, the following
hypothetical liquidation analysis (the “Liquidation Analysis”) has been prepared so that the
Bankruptcy Court may determine that the Plan is in the best interests of all classes impaired by
the Plan.

THE LIQUIDATION ANALYSIS IS AN ESTIMATE OF THE PROCEEDS THAT MAY BE
GENERATED AS A RESULT OF A HYPOTHETICAL CHAPTER 7 LIQUIDATION OF THE
ASSETS OF THE DEBTORS AND NON-DEBTOR AFFILIATES. UNDERLYING THE
LIQUIDATION ANALYSIS ARE A NUMBER OF ESTIMATES AND ASSUMPTIONS
THAT ARE INHERENTLY SUBJECT TO SIGNIFICANT ECONOMIC, COMPETITIVE,
AND OPERATIONAL UNCERTAINTIES AND CONTINGENCIES BEYOND THE
CONTROL OF MANAGEMENT AND ITS ADVISORS. ADDITIONALLY, VARIOUS
LIQUIDATION DECISIONS UPON WHICH CERTAIN ASSUMPTIONS ARE BASED ARE
SUBJECT TO CHANGE. ACCORDINGLY, THERE CAN BE NO ASSURANCE THAT THE
ASSUMPTIONS AND ESTIMATES EMPLOYED IN DETERMINING THE LIQUIDATION
VALUES OF THE DEBTORS’ AND NON-DEBTOR AFFILIATES’ ASSETS WILL RESULT
IN THE PROCEEDS WHICH WOULD BE REALIZED WERE THE DEBTORS AND NON-
DEBTOR AFFILIATES TO UNDERGO AN ACTUAL LIQUIDATION, AND ACTUAL
RESULTS COULD VARY MATERIALLY FROM THOSE SHOWN HERE.            THIS
ANALYSIS HAS NOT BEEN EXAMINED OR REVIEWED BY INDEPENDENT
ACCOUNTANTS IN ACCORDANCE WITH STANDARDS PROMULGATED BY THE
AICPA.

                                       GENERAL ASSUMPTIONS

For purposes of this analysis, the Effective Date is assumed to be December 31, 2009. A
summary of the assumptions used by management and its advisors in preparing the Liquidation
Analysis follows.

Asset Sale Methodology

The Liquidation Analysis assumes that the hypothetical chapter 7 liquidation is effected via the
orderly sale of the businesses of the Debtors and Non-Debtor Affiliates as going concerns.
Because the Asbestos PI Channeling Injunction and Asbestos PD Channeling Injunction would
not be available in a chapter 7 liquidation, the value realized from the orderly sale of the

1
    All capitalized terms used in this Liquidation Analysis that are not otherwise defined herein shall have the
    meanings ascribed to them in the Plan.




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businesses in all likelihood would be reduced as a result of a buyer’s concern regarding the risk
of asbestos liability in the acquisition of the assets. Further, the lack of the Asbestos PI
Channeling Injunction and the Asbestos PD Channeling Injunction may preclude an orderly sale
of the businesses as going concerns, in which case an actual liquidation of assets would be
required. In that case, values realized would be further reduced.

Estimates of Cost of Liquidation

Conversion of the Chapter 11 Cases to chapter 7 would likely result in additional costs to the
Debtors’ estates. Costs of liquidation under chapter 7 of the Bankruptcy Code would include the
compensation of a trustee and other professionals retained by the trustee, including attorneys,
financial advisors and consultants; asset disposition expenses; litigation costs related to possible
fraudulent transfer actions and the resolution of asbestos and other Claims; all unpaid expenses
incurred by the Debtors in the Chapter 11 Cases that are allowed in the chapter 7 cases; and
Claims arising from the operations of the Debtors during the pendency of the Chapter 11 Cases.

In addition, liquidation costs could be higher, and the value of any distributions could be lower,
if the chapter 7 cases were not completed within the 12-month period assumed in the Liquidation
Analysis. In the event that litigation were necessary to resolve claims asserted in the chapter 7
cases, any delay could be further prolonged and administrative expenses further increased. The
effects of this potential delay on the value of distributions under the hypothetical liquidation have
not been considered.




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                                        DETAILED LIQUIDATION ANALYSIS

The table below provides a comparison of the recoveries under a hypothetical chapter 7
liquidation and under the Chapter 11 Cases reorganization in accordance with the provisions of
the Plan. The accompanying footnotes should be read in connection with the table.

(unaudited, $ in millions)

                                                                                          Chapter 7                            Chapter 11 Cases
                                                                                         Liquidation                            Reorganization
                                                                         Note         Low           High                      Low           High
Calculation of Estimated Value Available:                                 A
 Estimated Value of Reorganized Debtors and Non-Debtor Affiliates                 $    2,100          $    2,500          $    2,100         $   2,500
 Less: Discount Factor                                                                (1,050)             (1,250)                  -                 -
   Estimated Value of Reorganized Debtors and Non-Debtor
   Affiliates                                                                          1,050              1,250                2,100             2,500

Plus:
  Cash                                                                    B             787                 787                 787               787
  Fresenius Payment                                                       C               -                 105                 115               115
  Cryovac Payment                                                         C               -                 873                 953               953
  Insurance Recovery                                                      D             500                 500                 500               500

    Estimated Value Before Provision for Chapter 7 Costs,
    Chapter 11 Costs, Administrative Expenses and Claims                               2,337              3,515                4,456             4,856

Less:
  Costs Associated with Chapter 11 Reorganization                                          -                   -                100               100
  Costs Associated with Chapter 7 Liquidation                             E
    Professional Fees ($2.0 million / month for 12 months)                                24                 24                    -                 -
    Trustee Fees (1.5% of cash and estimated proceeds less other fees)                    27                 45                    -                 -
    Additional Brokerage Fees (0.5% of estimated proceeds)                                 5                  6                    -                 -

  Administrative Expenses                                                                 26                 26                  31                31
  Priority Tax Claims and Priority Claims                                                 39                 39                  39                39
  Secured Claims                                                                           5                  5                   5                 5

    Estimated Value Before Provision for General Unsecured
    Claims, Asbestos PI and PD Claims and Equity Interests                             2,211              3,371                4,280             4,680

                                                                                                (1)                 (1)                (2)               (2)
  Provision for General Unsecured Claims                                                999                 999                1,387             1,387
                                                                                                (3)                 (3)                (4)               (4)
  Provision for Asbestos PI and PD Claims                                                  -                   -               2,773             2,424


(1) Plus post-petition interest, if any value available
(2) Includes post-petition interest for General Unsecured Claims as set forth in their treatment under the Plan
(3) Assumes Asbestos PI and PD Claims would be in dispute
(4) Represents value of the treatment of Asbestos PI Claims and Asbestos PD Claims under the Plan (obligations under the Deferred Payment
    Agreements discounted at approximately 5% in the low case and 10% in the high case)




                                                                           3
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                        FOOTNOTES TO LIQUIDATION ANALYSIS

A summary of the assumptions used in the Liquidation Analysis is set forth below.

NOTE A – PROCEEDS FROM ORDERLY SALE OF BUSINESSES

The Liquidation Analysis assumes the businesses of the Debtors and Non-Debtor Affiliates
would be sold as going concerns for cash in one transaction. The proceeds from this sale
transaction are assumed to equal the range of the Reorganized Enterprise Value of the
Reorganized Debtors and Non-Debtor Affiliates, as further described in Section 2.11 of the
Disclosure Statement, less a discount factor of 50%. Unlike a chapter 11 reorganization, chapter
7 does not provide for the issuance of the Asbestos PI Channeling Injunction or Asbestos PD
Channeling Injunction. Notwithstanding a presumed ability to sell assets in a sale under
Bankruptcy Code §363 or the availability of an injunction under Bankruptcy Code §105, the
discount factor quantifies the probability that the businesses could not be sold for fair value or at
all because of the perceived risk that the asbestos liability would follow the assets sold.

U.S. taxes due on the gain from the orderly sale of the Debtors’ and Non-Debtor Affiliates’
businesses are assumed to be offset by existing tax attributes and deductions generated by
payments made to Claimants in the chapter 7 cases. To the extent that the payment of claims did
not occur within twelve months from the sale of the assets, the estate would incur cash tax
obligations subject to future refunds. The orderly sales of businesses in foreign countries are
assumed to be structured as stock sales to minimize foreign taxes.

NOTE B – CASH

Cash represents cash projected to be available at December 31, 2009. Excess cash flow
generated from operations during the liquidation sale process is assumed to be reinvested into the
operations of the Debtors and Non-Debtor Affiliates.

NOTE C – FRAUDULENT TRANSFER ACTIONS

Amounts from fraudulent transfer actions reflect the value, in the form of cash and securities, to
be realized under litigation settlements with Fresenius and Cryovac, Inc., a subsidiary of Sealed
Air (the “Fresenius Settlement Agreement” and the “Sealed Air Settlement Agreement,”
respectively, and collectively the “Agreements”). Pursuant to the Fresenius Settlement
Agreement and the Sealed Air Settlement Agreement, respectively, and the provisions of the
Plan, Fresenius shall make the Fresenius Payment and Cryovac shall make the Cryovac Payment.
The Agreements specifically require the existence of the Asbestos PI Channeling Injunction and
Asbestos PD Channeling Injunction. Because the Asbestos PI and PD Channeling Injunctions
are not available in a chapter 7 liquidation, the Liquidation Analysis assumes these settlement
payments would not be made. It is assumed, however, that a chapter 7 trustee would pursue
similar litigation actions which resulted in the Agreements. Because the outcome of this
litigation cannot be known, a range is shown from zero (at the low end) to a level of Sealed Air
proceeds equal to the Cryovac Payment and Fresenius proceeds equal to the Fresenius Payment
on a present value basis assuming a discount rate of 3% and a three-year time period to collect




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the proceeds (at the high end). The discount rate is used to capture the time element of the future
payment but not the risk of collection.

NOTE D – INSURANCE

At December 31, 2008, taking into account existing settlement agreements with various
insurance carriers, excess coverage with other insurers including certain insolvent carriers, and
previous reimbursements, there remains approximately $916 million of excess insurance
coverage. In a chapter 7 liquidation and the Chapter 11 Cases reorganization, the Insurance
Recovery is based on the current book value of the insurance asset ($500 million). The ultimate
amount of insurance received will depend on a number of factors that will only be determined at
the time claims are paid including the nature of the claim, the relevant exposure years, the timing
of the payment, the solvency of insurers and the legal status of policy rights. A more detailed
description of these insurance policies can be found in Grace’s Annual Report on Form 10-K for
the year ended December 31, 2008.

NOTE E – COSTS ASSOCIATED WITH A CHAPTER 7 LIQUIDATION

The costs associated with a chapter 7 liquidation are assumed to include fees and costs for
professionals retained by the chapter 7 trustee, including legal, financial and claims processing
advisors, estimated at $2.0 million per month for twelve months. In addition, it is assumed the
chapter 7 trustee would receive payments equal to 1.5% of the estimated total proceeds from sale
of businesses and available cash less other chapter 7 expenses. Additional brokerage fees would
be necessary for the orderly sale of the Debtors’ businesses and other costs. Brokerage fees are
calculated at 0.5% of estimated total proceeds from the sale of businesses.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                EXHIBIT 9 TO EXHIBIT BOOK
                              CDN ZAI MINUTES OF SETTLEMENT

                                                                                                  EXHIBIT 9

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
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    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                  EXHIBIT 10 TO EXHIBIT BOOK
                                  COOPERATION AGREEMENT

                                                                                                 EXHIBIT 10

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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         W. R. GRACE ASBESTOS PERSONAL INJURY SETTLEMENT TRUST

                                          [insert date]
                       [To be executed and delivered on the Effective Date]


W. R. Grace & Co.
Attn: General Counsel
7500 Grace Drive
Columbia, Maryland 21044

        Re:     Cooperation Agreement Between the W. R. Grace Asbestos Personal Injury
                Trust (the “Asbestos Trust”) and the Grace Reorganized Debtors

Dear Counsel:

        Pursuant to the First Amended Joint Plan of Reorganization Under Chapter 11 of the
Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of Asbestos Personal
Injury Claimants, the Asbestos PI Future Claimants’ Representative, and the Official Committee
of Equity Security Holders, as may be amended or modified (the “Plan”), this letter sets forth the
agreement between the Asbestos Trust and the Reorganized Debtors regarding the Asbestos
Trust’s access to certain Documents (as defined herein) pertaining to Asbestos PI Claims and
certain related facilities maintained by the Debtors during their Chapter 11 Cases and thereafter
by the Reorganized Debtors as provided herein (the “Cooperation Agreement”).1

       1.     As used in this Cooperation Agreement, the term “Document” means any written
record or electronically-stored information, including any writings, drawings, graphs, charts,
photographs, sound recordings, images, and other data, data compilations, or databases.

       2.     Under the procedures set forth in this Cooperation Agreement, the Reorganized
Debtors shall provide, or cause to be provided, to the Asbestos Trust all Documents described
below that are within the possession, custody, or control of the Reorganized Debtors, including
responsive Documents held on their behalf by any of the Reorganized Debtors’ Affiliates or
Representatives. The Reorganized Debtors acknowledge and represent that they have succeeded
to possession, custody, or control of the responsive Documents that the Debtors maintained
during their Chapter 11 Cases, and those that were held on the Debtors’ behalf by their
Representatives during the Chapter 11 Cases.

      3.       The Asbestos Trust shall be entitled to the following Documents under the
procedures set forth in this Cooperation Agreement:

1
         All capitalized terms not otherwise defined herein have the meanings defined in the Plan. As
used in this Cooperation Agreement, the term “Debtors” refers to the debtors and debtors-in-possession
in the jointly-administered bankruptcy cases styled In re W. R. Grace & Co., et al., Case No. 01-1139
(JKF) (Bankr. D. Del.), together with all of their predecessors-in-interest. As defined in more detail in the
Plan, “Asbestos PI Claims” refers to certain claims against the Debtors.




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(a)   In the course of defending Grace in pre-petition asbestos personal
      injury and property damage lawsuits, Grace collected all known
      Documents responsive to discovery requests in those lawsuits in a
      document archive in Boston, Massachusetts. Non-privileged
      Documents in that archive have been made available to counsel for the
      Official Committee of Asbestos Personal Injury Claimants and the
      Asbestos PI Future Claimants’ Representative in the estimation
      proceedings in the Chapter 11 Cases. The Reorganized Debtors agree
      to continue to maintain those non-privileged Documents in the Boston
      archive and to make them available for review and copying by the
      Asbestos Trust;

(b)   Grace also created during the course of defending pre-petition asbestos
      personal injury and property damage lawsuits a coded “Searchlink”
      database of documents relating to Grace’s manufacture and sale of
      asbestos-containing products (including product invoices and other
      sales records) produced in those lawsuits. The Reorganized Debtors
      will provide to the Asbestos Trust (i) a copy of that database and (ii)
      user names, passwords and instructions to enable the Asbestos Trust to
      utilize the associated software search mechanism;

(c)   In the course of defending and settling pre-petition asbestos personal
      injury claims, Grace maintained a collection of personal injury claims
      files at its Boca Raton, Florida office, and at off-site storage facilities
      in Florida. Those personal injury claim files typically included the
      complaint or other form of written claim, and for settled claims, the
      claims files included exposure affidavits and/or other documentation
      of the alleged exposure to Grace’s asbestos containing products and
      medical records of the alleged injury resulting from that exposure, and
      evidence of the disposition of the claim. Grace also maintained a
      Claims Management System (“CMS”) computer database of those
      personal injury claims, and issued Monthly Asbestos Litigation
      Summaries (“MALS”). The Reorganized Debtors agree to maintain
      these Boca Raton personal injury claims files, the CMS database of
      personal injury claims and the MALS and to make them available to
      the Asbestos Trust for inspection and on-site copying;

(d)   In order to assist the Asbestos Trust with its insurance recovery efforts,
      Grace either has provided or the Reorganized Debtors agree to provide
      to the Asbestos Trust the following compilations to the extent that they
      already exist and are readily available and the following Documents to
      the extent they exist and are within the Reorganized Debtors’
      possession, custody, or control:

          (i)                    Contact information for the insurance companies
                                 with whom Grace has corresponded over the years


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                          to the extent Grace already has this information
                          assembled;

         (ii)             Correspondence files with the insurance companies,
                          brokers, or other entities regarding insurance
                          coverage for asbestos liabilities, including all
                          Documents relating to settlement of insurance
                          coverage claims for asbestos liabilities;

         (iii)            Information with respect to past expenses
                          maintained in the CMS system that were used to
                          separate indemnity costs from defense costs;

         (iv)             Grace has already provided documents describing
                          Grace’s allocation program and coverage-in-place
                          agreement policy registers for all settled carriers;

         (v)              All computer programs relating to Grace’s asbestos
                          insurance allocation models;

         (vi)             Support for the "Impairment of Limits" spreadsheet
                          and the "Policy Register Estimated Erosion
                          Amounts By Insurer Coverage In Place
                          Agreements" worksheet and all other data relating to
                          the exhaustion or impairment of the limits of
                          Grace’s liability insurance policies;

         (vii)            Correspondence reflecting notice of asbestos claims
                          and demands for payment of asbestos claims,
                          specifically including: Grace’s notification to its
                          insurers of its filing for Chapter 11;

         (viii)           Grace will provide written authorization for the
                          Asbestos Trust to obtain access to (a) any Grace
                          insurance files maintained by its former broker
                          Marsh and (b) the insurance files and insurance
                          related memos and pleadings maintained or stored
                          by Grace’s previous insurance recovery counsel;

         (ix)             An Excel spreadsheet showing the asbestos
                          insurance receipts and a copy of the programming
                          source code for the administration of the coverage-
                          in-place agreements; and

         (x)              Grace has already provided copies of all liability
                          insurance policies issued pre-petition to the Debtors.




                             3

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           (e)     The Reorganized Debtors shall provide to the Asbestos Trust copies of all
                   Documents pertaining to any supersedeas bonds or similar assurances of
                   payment posted and outstanding as of the commencement of the Chapter 11
                   Cases with respect to any judgment entered against any of the Debtors on an
                   Asbestos PI Claim;

           (f)     The Reorganized Debtors shall provide to the Asbestos Trust copies of all
                   databases of ballots submitted in the Chapter 11 Cases for Class 6 Claims,
                   including imaged copies of all such ballots and all databases and compilations
                   created for the Bankruptcy Court regarding voting; and

           (g)     The Reorganized Debtors shall provide to the Asbestos Trust copies of all
                   Documents previously produced by Grace in connection with the asbestos
                   personal injury estimation during the Chapter 11 Cases.

       4.     The Asbestos Trust shall also be entitled to access to the facilities referred to in
Paragraph 3 above relating to the above-described Documents, under the procedures set forth in
this Cooperation Agreement. More specifically, the Reorganized Debtors shall provide the
Asbestos Trust with:

            (a) access at reasonable times to all physical repositories (“Repositories”) of the
Documents identified in Paragraph 3 herein for the purpose of inspecting or copying such
Documents;

               (b) copies of any electronic and paper indexes of the above-described Documents
maintained in such Repositories; and

               (c) permission to copy, or cause the copying of, any and all Documents located or
stored in such Repositories, including permission to remove any and all Documents from such
Repositories for the purpose of copying or causing the copying of any and all such Documents.

       5.       Within thirty (30) calendar days after receipt of a written request, the Reorganized
Debtors shall provide the Asbestos Trust with (a) copies of any Documents described in
Paragraph 3 above, and (b) access to any Repository described in Paragraph 4 above. When
providing such Documents or access, the Reorganized Debtors shall also provide the Asbestos
Trust with any available electronic and paper index that identifies or describes the contents of
any disc, database, or box of Documents provided, and all digital collections of such Documents.
To the extent any Documents in digital form are stored in a format with full text or other
searchable capabilities, the Reorganized Debtors shall provide any and all search engines,
software and programs to fully enable all potential search functions. Any responsive Document
that consists of a database or data compilation in electronic or digital form shall be produced in
computer-readable format and shall include descriptions of data tables and fields used in the
database or compilation.

       6.     Beyond the Documents to be provided or made available to the Asbestos Trust by
the Reorganized Debtors hereunder, the Reorganized Debtors will cooperate with the Asbestos



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Trust in the Asbestos Trust’s insurance coverage recovery and actions. The Reorganized
Debtors will provide reasonable access to the Reorganized Debtors’ personnel for interviews,
depositions and trials if necessary. The Reorganized Debtors will authorize and encourage the
cooperation of the Reorganized Debtors’ defense counsel and consultants to provide their
insurance related documents to the Asbestos Trust and to make themselves reasonably available
for interviews, depositions and trials in insurance coverage recovery proceedings if necessary,
compensation for which will have to be agreed upon by the Asbestos Trust and the respective
defense counsel and consultants.

       7.      Within thirty (30) calendar days after the execution of this Cooperation
Agreement, the Reorganized Debtors shall identify to the Asbestos Trust in writing its present
and former agents or Representatives who likely have significant knowledge about the
Documents or subject matters described in Paragraph 3 above (the “Designated
Representatives”). Upon request by the Asbestos Trust, the Reorganized Debtors shall use
commercially reasonable efforts to make the Designated Representatives available to the
Asbestos Trust, including, without limitation, (a) those Designated Representatives whose
knowledge and familiarity with the Documents might enable the Asbestos Trust to utilize the
Documents more effectively and/or more efficiently and (b) those Designated Representatives
whose information may be necessary to authenticate or prove the chain of custody for
admissibility purposes in court or other proceedings. To the extent that the Reorganized Debtors
have the ability to direct any Designated Representative or other agent or officer to cooperate
with the Asbestos Trust, the Reorganized Debtors agree to do so. The Asbestos Trust shall
reimburse the Reorganized Debtors for all lost time and reasonable expenses incurred in making
such persons available, including but not limited to reimbursement for the Designated
Representatives’ fees or pro rata salary. Compensation for lost time shall be at rates mutually
agreed upon by the Asbestos Trust and the Reorganized Debtors. The Reorganized Debtors shall
not take any action intended to dissuade any person from cooperating with the Asbestos Trust.
The Reorganized Debtors do not object to the Asbestos Trust contacting its former officers and
employees and/or third parties, and the Reorganized Debtors agree to provide any available
contact information for such persons as may be requested by the Asbestos Trust.

        8.      If at any time a Reorganized Debtor decides to terminate the employment or
retention of a Designated Representative, the Reorganized Debtor shall provide the Asbestos
Trust with at least fourteen (14) days’ advance notice of such termination, in which event, at the
sole option and request of the Asbestos Trust, the Reorganized Debtors and the Asbestos Trust
shall confer in good faith to negotiate, if possible, an arrangement whereby a Reorganized
Debtor will continue the employment or retention of the Designated Representative at the
expense of the Asbestos Trust; provided, however, that nothing in this Cooperation Agreement
shall preclude or bar the Asbestos Trust from separately retaining the services of a Designated
Representative as a consultant or advisor to the Asbestos Trust after the Designated
Representative’s employment or retention with any of the Reorganized Debtors has been
terminated or otherwise concluded.

       9.     In responding to the Asbestos Trust’s requests pursuant to Paragraphs 1 through 8
above, the Reorganized Debtors shall provide the Asbestos Trust with a written certification that
they have used their reasonable efforts to comply with those requests, or, if unable to so comply,



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shall provide a written explanation of reasons. Except as expressly provided in this Cooperation
Agreement, nothing herein shall be interpreted as requiring the Reorganized Debtors to create
any new Documents or to update or revise any of the information described herein.

        10.    The Asbestos Trust shall reimburse the Reorganized Debtors for all reasonable
costs and expenses that any of the Reorganized Debtors incur on or after the date of execution of
this Agreement in complying with the Asbestos Trust’s requests for access to Documents or
Repositories under this Cooperation Agreement, including the out-of-pocket expenses of making
copies of any Documents at the Asbestos Trust’s request; provided, however, that the
Reorganized Debtors shall maintain the Documents and the Repositories at their own expense for
the duration of this Cooperation Agreement, subject to the provisions of Paragraph 16 hereof
regarding the right of the Reorganized Debtors to provide the Asbestos Trust with one hundred
eighty (180) days’ advance written notice with respect to Documents and/or Repositories that the
Reorganized Debtors wish to dispose of or destroy and the right of the Asbestos Trust to then
take possession of such Documents and/or Repositories at its own expense.

       11.     The Asbestos Trust shall use the Documents and information provided under this
Cooperation Agreement only for purposes of (a) its processing, resolution, and defense of
Asbestos PI Claims channeled to the Asbestos Trust under the Plan; (b) its pursuit of the
Asbestos Trust Causes of Action; (c) its pursuit of the Asbestos Insurance Rights; and (d)
settlement discussions with any Asbestos Insurance Entity; provided, however, that the Asbestos
Trust may share the Documents and information with the holders of the Asbestos PI Claims.
Notwithstanding any other provision of this Agreement, under no circumstances shall documents
provided pursuant to this Agreement be used by the Asbestos Trust as a basis for or in support of
any claim against the Reorganized Debtors, the Sealed Air Indemnified Parties, or the Fresenius
Indemnified Parties. Subject to the non-waiver provisions of paragraph 13 below, the preceding
sentence shall not preclude the Asbestos Trust, in any future litigation against the Reorganized
Debtors, from seeking discovery of any document or information provided pursuant to this
Agreement.

         12.     Neither the Reorganized Debtors nor any of their Representatives shall have any
liability to the Asbestos Trust or its Representatives arising out of or relating to the use of the
Documents or any errors or omissions resulting therefrom; provided, however, that such
exculpation shall not pertain to any breach by any of the Reorganized Debtors of the duties
created by this Cooperation Agreement or any of the Plan Documents.

        13.    By entering into this Cooperation Agreement, and providing the Asbestos Trust
with access to or copies of the Documents, the Reorganized Debtors are not waiving any
attorney-client privilege pertaining to the Documents; provided, however, that the retention of
such privilege shall neither inhibit nor prevent the Reorganized Debtors from fulfilling their
obligations hereunder. Nevertheless, to enable the Asbestos Trust to fulfill the purposes outlined
in Paragraph 11 above, the Reorganized Debtors hereby waive any work product immunity or
privilege that might attach to any of the Documents or information described in Paragraph 3
above, including, without limitation, Documents containing attorney mental impressions or trial
preparation materials. Notwithstanding any other provision of this paragraph or this Agreement,




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nothing in this Agreement shall waive any attorney-client privilege or work product immunity
for documents related to asbestos property damage claims or lawsuits.

        14.    This Cooperation Agreement is the entire agreement between the Asbestos Trust
and the Reorganized Debtors with respect to the subject matter hereof, and supersedes all prior
representations and agreements between the parties as to such subject matter. Any modification,
waiver, or amendment of any provision of this Cooperation Agreement must be in writing and
signed on behalf of the Asbestos Trust and the Reorganized Debtors, and no waiver of any term
or breach of this Cooperation Agreement shall be deemed a waiver of such term for the future or
any subsequent or other breach hereof. No failure or delay by any party in exercising any right,
power, or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial
exercise thereof preclude any other or further exercise thereof, or the exercise of any other right,
power, or privilege hereunder. This Cooperation Agreement, and the terms hereof, shall be
binding upon each of the Reorganized Debtors, the Asbestos Trust, and each of their respective
successors and assigns. Should there be any litigation with respect to the Asbestos Trust’s access
to Documents or information under this Cooperation Agreement in which the Asbestos Trust
prevails, the Reorganized Debtors (or each of their successors or assigns, as the case may be)
shall reimburse the Asbestos Trust for its reasonable attorneys’ fees and costs.

        15.    This Cooperation Agreement shall be construed in accordance with the laws of
the State of Delaware, without regard to any conflict of law principles.

        16.    This Cooperation Agreement shall expire on December 31, 2020, unless renewed
in writing at least one hundred and twenty (120) days prior thereto by mutual consent of the
parties; provided, however, that the Reorganized Debtors, their successors, and assigns shall
remain obligated to provide the Asbestos Trust with access to the Documents and Repositories
for as long as such entities remain in possession or control thereof; and provided, further, until
the expiration date of this Cooperation Agreement, the Reorganized Debtors, their successors,
and assigns shall not dispose of or destroy the Documents or Repositories without providing at
least one hundred and eighty (180) days’ advance written notice to the Asbestos Trust, within
which one hundred and eighty (180) day period the Asbestos Trust shall be entitled to take
possession of the Documents at its own expense.

       17.     The following rules of construction shall apply to this Cooperation Agreement:

               (a) the words “include,” “including,” and any variation thereof are not limiting;

               (b) the word “or” is not exclusive;

               (c) the word “and” includes “or”; and

               (d) the plural includes the singular, and vice-versa.

        18.     Notices hereunder shall be sent for overnight delivery either by courier or
certified mail, return receipt requested, addressed to:




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              (a) If to the Asbestos Trust:

                                  [insert name and address]

                     with copies to the following Representatives:

                                  [insert name and address]

              (b) If to the Reorganized Debtors:

                                  [insert name and address]

                     with copies to the following Representatives:

                                  [insert name and address]

       Please acknowledge your agreement to the terms of this Cooperation Agreement by
signing in the space provided below, and returning one copy of the signed Cooperation
Agreement to the Asbestos Trust, whereupon this Cooperation Agreement shall become a
binding agreement between the Asbestos Trust and the Reorganized Debtors.

                                              Very truly yours,


                                              ______________________________
                                              Trustee


                                              ______________________________
                                              Trustee


                                              ______________________________
                                              Trustee


AGREED AND ACCEPTED:
this ___ day of __________________, 20__, by:

THE REORGANIZED DEBTORS
W. R. GRACE & CO., on behalf of itself and its subsidiaries
and affiliates that are Reorganized Debtors under the Plan


By:
Name:
Title:


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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                            EXHIBIT 11 TO EXHIBIT BOOK
                     ASBESTOS PI DEFERRED PAYMENT AGREEMENT

                                                                                                 EXHIBIT 11

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                      FORM OF DEFERRED PAYMENT AGREEMENT (PI)

               THIS DEFERRED PAYMENT AGREEMENT (PI) (this “Deferred Payment
Agreement (PI)”) is made and entered into as of [__], 2009 by and between W. R. Grace & Co.-
Conn., a Connecticut corporation (together with any successor thereto pursuant to the terms and
conditions of Section 16, “Grace”), and the WRG Asbestos PI Trust (the “Trust (PI)”), a
Delaware statutory trust established pursuant to §524(g) of the Bankruptcy Code in accordance
with the Plan of Reorganization (as hereinafter defined). Unless otherwise defined herein or the
context otherwise requires, all capitalized terms used herein and defined in the Plan of
Reorganization shall be used herein as therein defined.

             NOW, THEREFORE, in consideration of the premises contained herein and for
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto agree as follows:

1.       Definitions; Rules of Interpretation.

         (a) The following terms are defined as follows:1

                  “Administrative Agent” has the meaning set forth in Section 16(d)(3).

               “Authorized Officer” means, with respect to any Entity, the chief executive
officer, president, chief financial officer, controller, executive vice president or senior vice
president of such Entity.

               “Bona Fide Compensation Transaction” means any payment, grant or award,
whether in cash, securities, options or other consideration, including without limitation salary or
bonus, to or for the benefit of any director, officer or employee of any Transferor or any of its
Affiliates made for legitimate, bona fide compensation and/or incentivization purposes; provided
that compensation paid, granted or awarded to any one such individual in any Fiscal Year of
Transferor whose aggregate value at the time or times of payment, grant or award is in excess of
$15,000,000 shall be a Bona Fide Compensation Transaction only (i) if the relevant Transferor is
then obligated to file or furnish, or is otherwise filing or furnishing, reports with the United
States Securities and Exchange Commission pursuant to Section 13 or 15 of the Securities
Exchange Act of 1934, it is approved by an independent committee of the Board of Directors of
the Transferor (or other similar management body of the Transferor) or (ii) if the relevant
Transferor is not then obligated to file or furnish, or is not otherwise filing or furnishing, reports
with the United States Securities and Exchange Commission pursuant to Section 13 or 15 of the
Securities Exchange Act of 1934, a reputable independent compensation expert or consultant
selected by the Transferor with the consent of the Permitted Holder (which consent shall not be
unreasonably withheld, conditioned or delayed) shall have determined, in its reasonable, good
faith judgment, that such payment, grant or award is reasonable and appropriate. For purposes of
the proviso in the previous sentence, (A) no payment or other value received in a given year

1    To the extent that any of these definitions are contained in the Plan of Reorganization, they will be deleted here.




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pursuant to the terms of a grant or award in a previous year shall be taken into account for
calculating the compensation in such given year; and (B) in the event of multiple payments,
grants or awards in a given Fiscal Year, the independent committee approval, or independent
compensation expert or consultant determination, as appropriate, shall be made with respect to
each payment, grant or award beginning with the payment, grant or award that causes the
compensation to be in excess of $15,000,000.

            “Business Day” means any day other than a Saturday, Sunday, or any other day
on which banks are authorized or required to close in New York, New York or Columbia,
Maryland.

               “Capital Stock” means, with respect to any Entity, any share of stock, or any
depositary receipt or other certificate representing any share of stock, or any similar equity
ownership interest, and any warrant, option, or any other security providing for the right to
acquire any such share of stock or similar equity ownership interest.

               “Claims” has the meaning set forth in Section 17(b).

               “Collateral Agent” has the meaning set forth in Section 16(d)(3).

               “Common Stock” has the meaning set forth in the Share Issuance Agreement.

               “Compliance Certificate” means a certificate in the form of Exhibit C.

                “Control” means, as to any Entity, the power to direct the management and
policies of such Entity directly or indirectly, whether through the ownership of voting securities,
by contract or otherwise; and the terms “Controlling” and “Controlled” have meanings
correlative to the foregoing.

                 “Controlled Affiliate” means, as to any Entity (the “Controlling Entity”), any
Affiliate that is Controlled by such Controlling Entity.

               “Courts” has the meaning set forth in Section 17(b).

               “Default Rate” means a floating rate equal to the Prime Rate plus 2.00% per
annum.

             “Deferred Payments” means, collectively, the Deferred Payments (PI), the
Deferred Payments (PD) and the Deferred Payments (ZAI).

              “Deferred Payment Agreement (PD)” means the Deferred Payment Agreement
(Class 7(a) PD) dated as of even date herewith between Grace and the Trust (PD) (as defined in
the Deferred Payment Agreement (PD)).

              “Deferred Payment Agreement (PI)” has the meaning set forth in the introductory
paragraph hereof.



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               “Deferred Payment Agreement (ZAI)” means the Deferred Payment Agreement
(Class 7(b) ZAI) dated as of even date herewith between Grace and the Trust (ZAI) (as defined
in the Deferred Payment Agreement (ZAI)).

              “Deferred Payment Date (PI)” means, in respect of a Deferred Payment (PI), each
corresponding date set forth in Section 2(a).

              “Deferred Payment Documents” means the Deferred Payment Documents (PI),
the Deferred Payment Documents (PD) (as defined in the Deferred Payment Agreement (PD))
and the Deferred Payment Documents (ZAI) (as defined in the Deferred Payment Agreement
(ZAI)).

                “Deferred Payment Documents (PI)” means this Deferred Payment Agreement
(PI), the Parent Guarantee (PI) and the Share Issuance Agreement.

             “Deferred Payment (PD)” has the meaning set forth in the Deferred Payment
Agreement (PD).

               “Deferred Payment (PI)” means each payment to be made on a Deferred Payment
Date (PI) as set forth in Section 2.

             “Deferred Payment (ZAI)” has the meaning set forth in the Deferred Payment
Agreement (ZAI).

               “Demand for Issuance of the Section 524(g) Shares” has the meaning set forth in
the Share Issuance Agreement.

               “Designated Senior Indebtedness” means Senior Indebtedness issued, pursuant to
a facility with an aggregate principal amount, commitments and/or other financial
accommodations then outstanding and/or available (disregarding for purposes of this definition
whether any conditions for draws thereunder have been satisfied), as of the relevant date of
determination, of at least $25,000,000.

               “Disposition Transaction” has the meaning set forth in Section 6(b).

               “Disqualified Equity Interest” means that portion of any Equity Interest which, by
its terms (or by the terms of any security into which it is convertible or for which it is
exchangeable), or upon the happening of any event, matures or is mandatorily redeemable,
pursuant to a sinking fund obligation or otherwise, or is redeemable at the sole option of the
holder thereof on or prior to the final Deferred Payment Date (PI).

               “Dollars” and “$” means the legal currency of the United States of America.

               “EBITDA” means, for any Entity for any period, such Entity’s and its
Subsidiaries’ consolidated net income (determined in accordance with GAAP) for such period
plus, without duplication, in respect of any such item of such Entity and/or any of its Subsidiaries
(i) to the extent deducted in determining such consolidated net income, the sum, without
duplication, of (a) interest expense, (b) provisions for any income or similar taxes paid or

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accrued, (c) all amounts treated as expenses for depreciation and amortization of any kind, (d)
cash and non-cash restructuring and reorganization, and other similar fees, costs, charges and
expenses, including without limitation, as a result of, or in connection with, the Chapter 11 Cases
and the Deferred Payment Documents, (e) items classified as extraordinary under Accounting
Principles Board Opinion No. 30 (as amended, restated, supplemented, replaced or otherwise
modified from time to time) incurred during such period, and (f) any non-cash charges minus (ii)
to the extent included in determining such consolidated net income, the sum, without duplication,
of (a) gross interest income received during such period and (b) items classified as extraordinary
under Accounting Principles Board Opinion No. 30 (as amended, restated, supplemented,
replaced or otherwise modified from time to time) realized during such period, all, in the cases of
clauses (i) and (ii) above, as determined on a consolidated basis in accordance with GAAP.

                “Equity Interest” means shares of capital stock or equity, equity securities or
ownership interests in any Entity or any rights (including any (x) options, warrants or other rights
to purchase or acquire any such stock, equity or interests (whether or not at the time exercisable),
or (y) securities by their terms convertible into or exchangeable for any such stock, equity or
interests (whether or not at the time so convertible or exchangeable) or options, warrants or
rights to purchase such convertible or exchangeable securities.

               “Event of Default” has the meaning set forth in Section 8.

               “Fair Market Value” means, with respect to each share of the Common Stock:

               (i)      If traded on the NYSE, NASDAQ or another stock exchange, the last
reported sale price of the Common Stock on the NYSE, NASDAQ or such other exchange on the
trading day immediately prior to the date on which the Section 524(g) Shares are issued;

               (ii)    If traded over-the-counter other than on NASDAQ, the average of the
closing bid and ask prices of the Common Stock on the trading day immediately prior to the date
on which the Section 524(g) Shares are issued; and

                (iii) If there is no public market for the Common Stock, the fair market value
of the Common Stock as of the day immediately prior to the date on which the Section 524(g)
Shares are issued, as determined by a reputable investment bank or valuation firm selected
jointly by Grace and the Trusts’ Representative (the “Independent Appraiser”). Grace and the
Trusts’ Representative shall instruct the Independent Appraiser to render its decision within
thirty days of its acceptance of its selection. The fees and expenses of the Independent Appraiser
shall be borne by Grace. Unless otherwise agreed to by Grace and the Trusts’ Representative, no
investment bank or valuation firm, nor any of its Affiliates or Subsidiaries, shall perform a
valuation pursuant to this clause (iii) if such bank or firm has rendered services to Grace, the
Parent Guarantor or any of their Affiliates or Subsidiaries within the last three years prior to
performing such valuation or has or is reasonably likely to have an agreement with Grace, the
Parent Guarantor or any of its Affiliates to render such services within the following year.

              “Fiscal Quarter” means, in respect of any Entity, a fiscal quarter of such Entity as
determined by it.



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              “Fiscal Year” means, in respect of any Entity, a fiscal year of such Entity as
determined by it.

               “GAAP” means generally accepted accounting principles in effect from time to
time in the United States, applied on a consistent basis; provided, however, that as of such time,
if any, when any Entity begins to provide financial information generally on the basis of IFRS,
then any reference to GAAP with respect to such Entity shall be given effect as a reference to
IFRS.

               “Governing Documents” means, as to any Entity, its articles or certificate of
incorporation and by-laws, its partnership agreement, its certificate of formation and operating
agreement and/or the organizational or governing documents of such Entity.

               “Governmental Authority” means the government of the United States of America
or any other country, or of any political subdivision thereof, whether state or local, and any
agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of, or
pertaining to, government (including any supra-national bodies such as the European Union or
the European Central Bank).

               “Grace” has the meaning set forth in the introductory paragraph hereof.

               “IFRS” means the International Financial Reporting Standards as adopted by the
International Accounting Standards Board and in effect from time to time, consistently applied.

                “Insolvent” means the financial condition of the Parent Guarantor, its Subsidiaries
and Grace taken as a whole such that as of the date specified, the sum of their liabilities is greater
than a fair valuation of all of their property and other assets.

               “Intercreditor Agreement” means the Intercreditor Agreement, dated as of the
date hereof, among the Trusts’ Representative, the Trust (PI) and the Trust (PD).

               “Laws” means, collectively, all applicable international, foreign, Federal, state
and local statutes, treaties, rules, regulations, ordinances and codes, including the binding
interpretation or administration thereof by any Governmental Authority charged with the
enforcement, interpretation or administration thereof.

               “NASDAQ” shall mean The NASDAQ Stock Market (including any of its
subdivisions such as the NASDAQ Global Select Market) or any successor market thereto.

              “NYSE” shall mean The New York Stock Exchange or any successor stock
exchange thereto.

              “NY UCC” means the Uniform Commercial Code, as enacted and in effect in the
State of New York from time to time.

              “Ordinary Dividends” means, in respect of any Entity, ordinary cash dividends
declared and paid out of surplus and/or net profits (as determined in accordance with applicable

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law) in accordance with the dividend policy of such Entity as in effect from time to time;
provided, however, that notwithstanding the foregoing, the excess, if any, of (a) the aggregate
amount of dividends declared and paid by such Entity in any Fiscal Year over (b) 50% of such
Entity’s and its Subsidiaries’ consolidated net income (determined in accordance with GAAP)
for the immediately preceding Fiscal Year shall not constitute “Ordinary Dividends” to the
extent of such excess.

               “Parent Guarantee (PI)” means the W. R. Grace & Co. Guarantee Agreement (PI)
dated as of even date herewith by the Parent Guarantor in favor of the Trust (PI).

              “Parent Guarantor” means W. R. Grace & Co., a Delaware corporation, and any
successor guarantor of the obligations of Grace (or a successor Entity) arising under this
Deferred Payment Agreement (PI) pursuant to the terms and conditions of the Parent Guarantee
(PI).

               “Payment Blockage Notice” has the meaning set forth in Section 7(a)(ii).

               “Payment Blockage Period” has the meaning set forth in Section 7(a)(ii).

                “Permitted Holder” means, as of any date of determination, collectively, (a)(i) if
the Trust (PI) has not, as of such date, assigned any of its rights or privileges under this Deferred
Payment Agreement (PI) (other than granting a security interest in its rights and privileges under
this Deferred Payment Agreement (PI)), the Trust (PI) and (ii) otherwise, the Administrative
Agent and (b) the Collateral Agent.

                “Permitted Payee” means, as of any date of determination, the Permitted Holder
or any permitted assignee of all or any portion of the Deferred Payments (PI) and the rights and
interests therein and thereto pursuant to the terms and conditions of Section 16.

               “Permitted Payor” means any Entity (other than Grace but including the Parent
Guarantor) acting on behalf of, or designated by Grace.

               “Plan of Reorganization” means that certain First Amended Joint Plan of
Reorganization Under Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., the
Official Committee of Asbestos Personal Injury Claimants, the Future Claimants’
Representative, and the Official Committee of Equity Security Holders Dated as of February 27,
2009, as filed by Grace and certain of its affiliates in their reorganization cases under chapter 11
of the Bankruptcy Code, in the United States Bankruptcy Court for the District of Delaware, and
as confirmed by order of that court dated as of [__], 2009, together with the exhibits and
schedules thereto, each as amended, supplemented or otherwise modified from time to time in
accordance with its terms.

               “Post-Transaction Certificate” means a certificate in the form of Exhibit D.

               “Post-Transaction Pro Forma Cash Balance” means with respect to any Entity as
of any date of determination, the aggregate amount of such Entity’s and its consolidated
Subsidiaries’ cash and cash equivalents as of such date (after giving effect to and assuming the
consummation of any Significant Transaction with a Transaction Date occurring on or prior to

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such date, notwithstanding that such Significant Transaction may not have actually been
consummated as of such date), other than cash and cash equivalents the disposition of which is
subject to a material restriction for the benefit of Entities other than such Entity and its
consolidated Subsidiaries.

                “Post-Transaction Pro Forma EBITDA” means, with respect to any Entity for any
four-Fiscal Quarter period and any specified Disposition Transaction, such Entity’s Pro Forma
EBITDA for such four-Fiscal Quarter period, computed assuming that such Disposition
Transaction, and any other Significant Transaction the Transaction Date of which occurs on or
prior to the Transaction Date of such Disposition Transaction and during the same Fiscal Quarter
as the Transaction Date of such Disposition Transaction, were consummated on the same terms
in effect on the respective Transaction Dates at the beginning of the four-Fiscal Quarter period
most recently ended prior to the Transaction Date of such Disposition Transaction, and shall
include adjustments which give effect to events that are (i) directly attributable to such
Disposition Transaction and any such Significant Transactions, (ii) expected to have a continuing
impact on the Entity, and (iii) factually supportable.

               “Post-Transaction Pro Forma Senior Indebtedness” means with respect to any
Entity as of any date of determination, the aggregate outstanding principal amount of such
Entity’s and its consolidated Subsidiaries’ Senior Indebtedness as of such date (after giving
effect to and assuming the consummation of any Significant Transaction (and any related
incurrence, reduction or repayment of Senior Indebtedness) with a Transaction Date occurring on
or prior to such date, notwithstanding that such Significant Transaction (and any related
incurrence, reduction or repayment of Senior Indebtedness) may not have actually been
consummated as of such date).

              “Post-Transaction Pro Forma Valuation” means, with respect to any Entity as of
any date of determination, the amount resulting from (a) the product of (i) such Entity’s Post-
Transaction Pro Forma EBITDA for the four-Fiscal Quarter period most recently ended,
multiplied by (ii) seven (7), minus (b) such Entity’s Post-Transaction Pro Forma Senior
Indebtedness as of such date, plus (c) such Entity’s Post-Transaction Pro Forma Cash Balance as
of such date.

                “Prime Rate” means as of any date of determination, the per annum rate publicly
announced on such date as the daily “U.S. prime rate” by The Wall Street Journal (National
Edition) for transactions in Dollars. Any change in the Default Rate resulting from a change in
the Prime Rate shall become effective on the Business Day on which each change in the Prime
Rate is publicly announced by The Wall Street Journal (National Edition).

                “Proceeding” means, with respect to any Entity, any voluntary or involuntary
insolvency, bankruptcy, receivership, custodianship, liquidation, reorganization, assignment for
the benefit of creditors, appointment of a custodian, receiver, trustee or other officer with similar
powers or any other proceeding for the liquidation, or other winding up of such Entity or all or
substantially all of the properties of such Entity.

              “Pro Forma Cash Balance” means with respect to any Entity as of the last day of
any four-Fiscal Quarter period, the aggregate amount of such Entity’s and its consolidated

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Subsidiaries’ cash and cash equivalents as of such date (after giving effect to and assuming the
consummation of any Significant Transaction with a Transaction Date occurring during such
four-Fiscal Quarter period, notwithstanding that such Significant Transaction may not have
actually been consummated during such four-Fiscal Quarter period), other than cash and cash
equivalents the disposition of which is subject to a material restriction for the benefit of Entities
other than such Entity and its consolidated Subsidiaries.

                 “Pro Forma EBITDA” means, with respect to any Entity for any four Fiscal-
Quarter period, such Entity’s EBITDA for such four Fiscal-Quarter period, computed assuming
that any Significant Transaction the Transaction Date of which occurred during the relevant four-
Fiscal Quarter period was consummated, on the terms in effect on such Transaction Date, at the
beginning of such four-Fiscal Quarter period most recently ended prior to the Transaction Date
of such Significant Transaction, and shall include adjustments which give effect to events that
are (i) directly attributable to any Significant Transactions the Transaction Date of which occurs
during such four-Fiscal Quarter period, (ii) expected to have a continuing impact on the Entity,
and (iii) factually supportable.

               “Pro Forma Senior Indebtedness” means with respect to any Entity as of the last
day of any four-Fiscal Quarter period, the aggregate outstanding principal amount of such
Entity’s and its consolidated Subsidiaries’ Senior Indebtedness as of such date (after giving
effect to and assuming the consummation of any Significant Transaction (and any related
incurrence, reduction or repayment of Senior Indebtedness) with a Transaction Date occurring
during such four-Fiscal Quarter period, notwithstanding that such Significant Transaction (and
any related incurrence, reduction or repayment of Senior Indebtedness) may not have actually
been consummated during such four-Fiscal Quarter period).

               “Pro Forma Valuation” means, with respect to any Entity as of the last day of any
four-Fiscal Quarter period, the amount resulting from (a) the product of (i) such Entity’s Pro
Forma EBITDA for such four-Fiscal Quarter period, multiplied by (ii) seven (7), minus (b) such
Entity’s Pro Forma Senior Indebtedness as of such date, plus (c) such Entity’s Pro Forma Cash
Balance as of such date.

               “Quarterly EBITDA and Valuation Certificate” means a certificate in the form of
Exhibit B.

               “Regulation S-X” means Regulation S-X promulgated by the United States
Securities and Exchange Commission as in effect on the date hereof.

                 “Related Party” means in respect of an Entity (the “Affected Entity”): (a) any
senior key employee, officer or director of the Affected Entity or, in respect of an officer or
director, any person holding a similar position in an Affected Entity that is not a corporation (any
such person, an “Insider”); (b) any spouse, child, parent or sibling of an Insider; (c) another
Entity which alone or together with other Entities under its Control directly or indirectly Controls
or holds ten percent (10%) or more of the Equity Interests that (i) generally entitle the holders
thereof to vote for the election of the board of directors or other governing body of the Affected
Entity, or (ii) confer upon the holders thereof an interest in the capital or profits of the Affected
Entity; (d) any Entity Controlled by the Affected Entity or by any Insider or in which the

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Affected Entity or any Insider Controls or holds ten percent (10%) or more of the stock or other
equity interests which (i) generally entitle the holders thereof to vote for the election of the board
of directors or other governing body of the Affected Entity or (ii) confer upon the holders thereof
an interest in the capital or profits of such Affected Entity; or (e) any Controlled Affiliate of any
Entity that is a Related Person by virtue of clause (d) of this definition; provided, however, that
any direct or indirect 100% owned Subsidiary of Grace shall not constitute a “Related Party” for
purposes of this Deferred Payment Agreement (PI).

               “Section 524(g) Shares” has the meaning set forth in the Share Issuance
Agreement.

                “Senior Indebtedness” means any and all present and/or future, direct and/or
indirect, indebtedness, liabilities and other obligations of Grace and/or the Parent Guarantor
owed to any Entity (whether as senior or subordinated indebtedness, as a first lien, second lien,
any other position or priority, and any mezzanine, subordinated or other indebtedness), including
any principal, interest and premiums, fees, investment points, reimbursement obligations,
issuance discounts and/or other costs, indemnities, liabilities and/or expenses thereon or in
connection therewith (including any interest accruing subsequent to the filing of a petition of
bankruptcy at the rate provided for in the documentation with respect thereto, whether or not
such interest is an allowed claim under applicable Law), in each case, under or with respect to (i)
any credit or loan facilities (whether provided by one or more banks, insurance companies,
financial institutions, private equity or hedge funds, lenders, and/or other Entities) and/or (ii) any
debt, bonds, debentures, notes, repurchase, discount, securitization, factoring and/or other similar
facilities providing for indebtedness, including any and all obligations of any nature in respect of
loans, credit agreements, indentures, and bonds, together with obligations in respect of hedging
arrangements (whether in respect of interest rates, currencies, commodities, equities,
indebtedness and/or otherwise), in each case, entered into with banks, insurance companies,
financial institutions, private equity or hedge funds, lenders and/or other Entities who are
engaged in the business of providing financing (but not customers of or suppliers to Grace and/or
the Parent Guarantor to the extent constituting trade payables), notes, letters of credit, and
synthetic letters of credit in connection therewith, and/or (iii) any reimbursement, payment,
indemnities, fees, guarantees or other obligations in connection with any credit or loan facilities
or indebtedness, liabilities and other obligations referenced in clauses (i) or (ii);

               except in each case, for indebtedness of Grace and/or the Parent Guarantor (A)
that by its express terms is not Senior Indebtedness for purposes of this Deferred Payment
Agreement (PI) and the Parent Guarantee (PI) and is to be treated as pari passu or junior and
subordinated with respect thereto in accordance with its terms, (B) for the avoidance of doubt,
consisting of obligations to trade creditors and other trade payables in connection with the
purchase of goods, materials or services, (C) owed to, or guaranteed by Grace or the Parent
Guarantor on behalf of, any director, officer or senior key employee of (1) Grace, (2) the Parent
Guarantor or (3) any Subsidiary or Affiliate of Grace or the Parent Guarantor, (D) represented by
Disqualified Equity Interests, (E) owed to (1) Grace, (2) the Parent Guarantor or (3) any
Subsidiary or Affiliate of Grace or the Parent Guarantor and (F) resulting from the Deferred
Payment Documents (PD) or the Deferred Payment Documents (ZAI).

               “Senior Non-Payment Default” has the meaning set forth in Section 7(a)(ii).

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               “Senior Payment Default” has the meaning set forth in Section 7(a)(i).

               “Senior Remedies” means, if an event of default has occurred and is continuing
under the terms of any agreement or document relating to Senior Indebtedness, any of the
following by the holder (or any agent or trustee of the holder) of any Senior Indebtedness: (1)
exercising or seeking to exercise any rights or remedies against Grace or the Parent Guarantor
with respect to such event of default or (2) instituting any action or proceeding with respect to
such rights or remedies (including any action of foreclosure, contest or protest) under any
agreement or document relating to Senior Indebtedness, or under such event of default or
otherwise or (3) attempting to do any of the foregoing.

               “Significant Transaction” means (a) any Disposition Transaction or (b) any
transaction of the type described in Section 210.11-01(a)(1) or Section 210.11-01(a)(2) of
Regulation S-X (disregarding, for purposes of clause (b) of this definition, whether the Entity
entering into such transaction is at the time obligated to file or furnish, or is otherwise filing or
furnishing, reports with the United States Securities and Exchange Commission pursuant to
Section 13 or 15 of the Securities Exchange Act of 1934, as amended).

               “Subsidiary” means, with respect to any Entity at any date, any corporation,
limited or general partnership, limited liability company, trust, estate, association, joint venture
or other business entity (i) the accounts of which would be consolidated with those of such Entity
in such Entity’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP or (ii) of which more than 50% of (A) the outstanding Capital Stock
having (in the absence of contingencies) ordinary voting power to elect a majority of the board of
directors or other managing body of such Entity, (B) in the case of a partnership or limited
liability company, the interest in the capital or profits of such partnership or limited liability
company or (C) in the case of a trust, estate, association, joint venture or other entity, the
beneficial interest in such trust, estate, association or other entity business is, at the time of
determination, owned or Controlled directly or indirectly through one or more intermediaries, by
such Entity.

                “Taxes” means any and all present or future taxes, levies, imposts, fees,
assessments, levies, duties, deductions, charges, liabilities or withholdings (including interest,
fines, penalties or additions to tax) imposed by any Governmental Authority.

                “Threshold Amount” means, as of any date of determination, the sum of (a)
$2,000,000,000 minus (b) the aggregate amount of Deferred Payments (PI) made by Grace and
any Permitted Payor under this Deferred Payment Agreement (PI) on or prior to such date plus
(c) the aggregate amount of Deferred Payments (PI) received by the Permitted Holder or any
Permitted Payee under this Deferred Payment Agreement (PI) from Grace or any relevant
Permitted Payor that have subsequently been invalidated, declared to be fraudulent or
preferential, set aside and/or required or agreed to be repaid or returned by the Permitted Holder
or such Permitted Payee under this Deferred Payment Agreement (PI) as of such date under any
Law or in respect of any Proceeding or other litigation to which Grace, the relevant Permitted
Payor, the Permitted Holder or any Permitted Payee is subject plus, without duplication, (d) the
aggregate amount of Deferred Payments (PI) received by the Permitted Holder or any Permitted
Payee that the relevant Permitted Holder or such Permitted Payee has delivered to the holders of

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any Senior Indebtedness pursuant to Section 7(c) of this Deferred Payment Agreement (PI) as of
such date.

                “Transaction Date” means, with respect to any Significant Transaction, (a) the
date, if any, on which final, definitive documentation providing for such Significant Transaction
is executed; provided, however, that the “Transaction Date” shall no longer be deemed to have
occurred with respect to any Significant Transaction if the final, definitive documentation
providing for such Significant Transaction is terminated for any reason, or (b) if no such final,
definitive documentation for such Significant Transaction is executed, the date on which such
Significant Transaction is consummated.

               “Transfer” has the meaning set forth in Section 6(b).

               “Transferor” has the meaning set forth in Section 6(b).

              “Trust (PD)” means the WRG Asbestos PD Trust, a Delaware statutory trust
established pursuant to § 524(g) of the Bankruptcy Code in accordance with the Plan of
Reorganization, on behalf of the Holders of Asbestos PD Claims.

               “Trust (PI)” has the meaning set forth in the introductory paragraph hereof.

               “Trusts” has the meaning set forth in the Share Issuance Agreement.

               “Trusts’ Representative” has the meaning set forth in the Share Issuance
Agreement.

               “Valuation” means, with respect to any Entity as of the last day of any four-Fiscal
Quarter period, the amount resulting from (a) the product of (i) such Entity’s EBITDA for such
four-Fiscal Quarter period, multiplied by (ii) seven (7), minus (b) the aggregate outstanding
principal amount of such Entity’s and its consolidated Subsidiaries’ Senior Indebtedness as of
such date, plus (c) the amount of cash and cash equivalents of such Entity and its consolidated
Subsidiaries as of such date other than cash and cash equivalents the disposition of which is
subject to a material restriction for the benefit of Entities other than such Entity and its
consolidated Subsidiaries.

       (b) Whenever the context may require, any pronoun shall include the corresponding
masculine, feminine and neuter forms. All references herein to Sections shall be deemed
references to Sections of this Deferred Payment Agreement (PI) unless the context shall
otherwise require.

        (c) Unless otherwise indicated, (i) the term “including” means “including without
limitation,” except when used in the computation of time periods, and (ii) any definition of or
reference to any agreement, instrument or other document herein shall be construed as referring
to such agreement, instrument or other document as from time to time amended, supplemented or
otherwise modified (subject to any restrictions on such amendments, supplements or
modifications set forth herein).



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         (d) For purposes of the computation of time periods, whenever this Deferred Payment
Agreement (PI) provides for an event to occur “within” a specified number of days of a
preceding event, it shall mean that the latter event shall occur before the close of business on the
last of the specified days, and the day on which the preceding event occurs shall not be included
in the computation of days elapsed. The word “from” means “from and including”, “after”
means “after and excluding”, and “to” and “until” mean “to and including”.

       (e) All terms defined in this Agreement or any other Deferred Payment Documents (PI)
in the singular form shall have comparable meanings when used in the plural form and vice
versa.

2.     Payment of Deferred Payments (PI).

        (a) Subject to Sections 2(b), 3(c), (f) and (g) and Section 7, Grace agrees to make each
Deferred Payment (PI) in full in the amount set forth below to the Permitted Holder (or, if the
Permitted Holder directs in writing, to one or more other Permitted Payees pursuant to such
written direction received by Grace pursuant to Section 16) not later than 12:00 noon New York
City time on the payment date specified in the table below (each a “Deferred Payment Date
(PI)”):

                            Deferred Payment Date (PI)
       Deferred
                          (if not a Business Day, to be the         Deferred Payment (PI)
      Payment No.
                        immediately following Business Day)
            1                       January 2, 2019                       $110,000,000
            2                       January 2, 2020                       $110,000,000
            3                       January 2, 2021                       $110,000,000
            4                       January 2, 2022                       $110,000,000
            5                       January 2, 2023                       $110,000,000
            6                       January 2, 2024                       $100,000,000
            7                       January 2, 2025                       $100,000,000
            8                       January 2, 2026                       $100,000,000
            9                       January 2, 2027                       $100,000,000
            10                      January 2, 2028                       $100,000,000
            11                      January 2, 2029                       $100,000,000
            12                      January 2, 2030                       $100,000,000
            13                      January 2, 2031                       $100,000,000
            14                      January 2, 2032                       $100,000,000
            15                      January 2, 2033                       $100,000,000



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        (b) To the extent that the Trusts’ Representative exercises its rights on behalf of the Trust
(PI) under the Share Issuance Agreement and the Section 524(g) Shares are issued and delivered
to the Trust (PI) (or its permitted successors or assigns), the amount of the remaining Deferred
Payments (PI) shall automatically be reduced, in the order directed by Grace, by the Fair Market
Value of the portion of the Section 524(g) Shares allocated to the Trust (PI) pursuant to Section 4
of the Intercreditor Agreement (as such Section 4 of the Intercreditor Agreement, together with
any defined terms used (directly or indirectly) in such Section 4 of the Intercreditor Agreement
are in effect as of the date hereof, or as amended or modified from time to time with the consent
(not to be unreasonably withheld) of Grace and the Parent Guarantor after the date hereof.

3.     Payments.

        (a) All payments to be made hereunder or in respect hereof shall be made in Dollars by
wire transfer of immediately available funds to the Permitted Holder in accordance with wire
transfer instructions provided by the Permitted Holder in writing from time to time. Upon
request by the Permitted Holder, Grace shall provide, or cause to be provided, the Federal
Reserve Bank wire reference numbers and other wire information related to any payments
hereunder.

        (b) Subject to Sections 2(b), 3(c), (f) and (g), all payments hereunder or in respect hereof
shall be made in full, without any reduction, set-off or counterclaim.

        (c) Whenever any payment to be made under this Deferred Payment Agreement (PI)
(including a Deferred Payment (PI) on a Deferred Payment Date (PI)) shall be stated to be due
on a day that is not a Business Day, such payment shall be made on the next succeeding Business
Day.

       (d) All payments made hereunder or in respect hereof (i) during the existence of an Event
of Default shall be applied, first to pay any fees, costs and expenses payable by Grace pursuant
to Section 16(h) and Section 19, second, to any unpaid interest accrued on the Deferred
Payments (PI) and, third, to the Deferred Payments (PI) in direct order of maturity, and (ii) at
any other time, as directed by the Permitted Payor.

        (e) If, after giving effect to (y) any Disposition Transaction or any assignment, delegation
or transfer by Grace of its rights or obligations under this Deferred Payment Agreement (PI) or
(z) any election to have a Permitted Payor make any payment on behalf of Grace pursuant to
Section 4(a), Grace, any successor Entity to Grace or such Permitted Payor shall be required by
applicable Law to withhold any Taxes from any payments of Deferred Payments (PI) or interest
at the Default Rate hereunder, and if such requirement would not have been imposed by such
applicable Law but for such Disposition Transaction, assignment or transfer, then (i) the sum
payable on account of Deferred Payments (PI) or interest at the Default Rate shall be increased
as necessary so that after making all withholdings required by applicable Law (including
withholdings applicable to additional sums payable under this Section 3(e)) the Permitted Payee
receives an amount equal to the sum it would have received on account of Deferred Payments
(PI) or interest at the Default Rate had no such withholdings been made, (ii) Grace or such
successor Entity, shall, or shall cause such Permitted Payor to, make such withholdings; and (iii)
Grace or such successor Entity shall, or shall cause such Permitted Payor to, timely pay the full

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amount deducted to the relevant Governmental Authority in accordance with applicable Law.
This Section 3(e) shall survive the termination of this Deferred Payment Agreement (PI)
pursuant to Section 11.

         (f) If, after giving effect to any permitted assignment or Transfer by the Permitted Holder
of its rights or obligations under this Deferred Payment Agreement (PI), Grace or a Permitted
Payor shall be required by applicable Law to withhold any Taxes from any payments of Deferred
Payments (PI) or interest at the Default Rate hereunder, and if such requirement would not have
been imposed by such applicable Law but for such assignment or Transfer, then the obligation of
Grace or the Permitted Payor to make the relevant payment of a Deferred Payment (PI) or
interest at the Default Rate hereunder shall be discharged by making such payment net of such
Taxes. This Section 3(f) shall survive the termination of this Deferred Payment Agreement (PI)
pursuant to Section 11.

       (g) If, due to either (i) the introduction of or any change in any law or regulation (or any
change in the interpretation thereof) or (ii) the compliance with any guideline or request from
any central bank or other Governmental Authority (whether or not having the force of law), in
each case adopted after the date hereof, Grace or a Permitted Payor shall be required to withhold
any Taxes from any payments of Deferred Payments (PI) or interest at the Default Rate
hereunder, then the obligation of Grace or the Permitted Payor to make the relevant payment of a
Deferred Payment (PI) or interest at the Default Rate hereunder shall be discharged by making
such payment net of such Taxes. This Section 3(g) shall survive the termination of this Deferred
Payment Agreement (PI) pursuant to Section 11.

4.     Permitted Payor; Prepayments.

        (a) The obligation of Grace to make all or any portion of any Deferred Payment (PI) may
be satisfied by direct payment of such amounts by a Permitted Payor.

       (b) To the extent any Deferred Payment (PI) is timely paid by a Permitted Payor, and
except as set forth in Section 4(d), the obligation of Grace in respect of the amounts paid shall be
deemed satisfied in full, Grace shall have no further obligation in connection therewith and
Grace shall not be considered in default in respect of such amounts so paid.

       (c) Any Permitted Payor and Grace may at any time and from time to time prepay any
Deferred Payment (PI) in whole or in part without penalty, premium or discount. Any such
prepayment(s) shall be applied to the Deferred Payments (PI) as directed by Grace.

        (d) To the extent that any Entity makes a payment to the Permitted Holder or any
Permitted Payee on account of this Deferred Payment Agreement (PI) that (in whole or in part) is
subsequently invalidated, declared to be fraudulent or preferential, set aside and/or required or
agreed to be repaid or returned by the Permitted Holder or such Permitted Payee under any Law
or in respect of any Proceeding or other litigation to which Grace, the relevant Permitted Payor,
the Permitted Holder or any Permitted Payee is subject, then, to the extent of the amount of such
payment, the portion of the obligations under this Deferred Payment Agreement (PI) which has
been paid, reduced or satisfied by such amount shall be reinstated and continue to be in full force
and effect as of the time immediately preceding such initial payment, reduction or satisfaction.

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5.     Representations and Warranties. Grace hereby represents and warrants to the Trust
       (PI) that as of the Effective Date:

      (a) Grace is duly organized and validly existing under the laws of the State of
Connecticut.

       (b) Grace has the corporate power and authority to execute and deliver each Deferred
Payment Document (PI) to which it is a party. Each Deferred Payment Document (PI) to which
Grace is a party has been duly authorized by all necessary corporate action of Grace and has
been duly executed and delivered by Grace.

       (c) Each Deferred Payment Document (PI) to which Grace is a party is a legal, valid and
binding obligation of Grace, enforceable against Grace in accordance with its terms, except as
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
or similar laws affecting the enforcement of creditors’ rights generally, by the discretion of the
court in which enforcement is sought, and/or by general equitable principles (whether
enforcement is sought by proceedings at law or in equity).

       (d) The execution, delivery and performance by Grace of each Deferred Payment
Document (PI) to which it is party does not conflict with, result in a breach of any of the
provisions of, or violate the Governing Documents of Grace.

6.     Covenants. Grace covenants and agrees that, from the Effective Date until this Deferred
       Payment Agreement (PI) terminates in accordance with Section 11:

       (a) Affirmative Covenants. Grace shall:

               (i)     Maintenance of Existence and Qualifications. Maintain and preserve in
full force and effect its existence and all other rights, powers, franchises, licenses and
qualifications necessary or desirable for its ownership or use of properties or the conduct of its
business, except (A) as permitted by Section 16, and (B) where the failure to do so would not be
reasonably likely to adversely affect Grace’s ability to make the Deferred Payments (PI) under
this Deferred Payment Agreement (PI) or to perform its obligations under the Deferred Payment
Documents (PI) to which it is a party.

                (ii)    Notices of Event of Default, Senior Payment Default and Senior Non-
Payment Default. Furnish to the Permitted Holder (x) within five (5) Business Days after an
Authorized Officer of Grace shall first learn of an Event of Default, and (y) on or before the
earlier of (A) the fifteenth (15th) day after an Authorized Officer of Grace shall first learn of a
Senior Payment Default or Senior Non-Payment Default and (B) the first Business Day
following the date on which a Payment Blockage Notice is delivered pursuant to Section 7(a)(ii),
the written statement of an Authorized Officer of Grace setting forth the material details of such
Event of Default, Senior Payment Default or Senior Non-Payment Default, as the case may be,
and the actions that Grace proposes to take with respect thereto.

                (iii)   Financial Statements. If (x) the financial statements of Grace are no
longer consolidated with the financial statements of the Parent Guarantor and (y) Grace is not
obligated to file or furnish, or is not otherwise filing or furnishing, reports with the United States

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Securities and Exchange Commission pursuant to Section 13 or 15 of the Securities Exchange
Act of 1934, Grace shall furnish to the Permitted Holder:

                      (A) Annual Financial Statements. As soon as available but in no event
later than ninety (90) days after the last day of each of Grace’s Fiscal Years, its annual
consolidated financial statements audited by a nationally recognized registered independent
public accounting firm allowed to practice before the Securities and Exchange Commission or
any successor Governmental Authority, consisting of a consolidated balance sheet of Grace and
its consolidated Subsidiaries as of the end of such year and consolidated statements of income,
cash flows and stockholders equity for such year (all in reasonable detail and with all notes and
supporting schedules); and

                       (B) Quarterly Financial Statements. As soon as available and in any event
within forty-five (45) days after the end of each of the first three Fiscal Quarters in each Fiscal
Year of Grace, its consolidated balance sheet as of the end of such Fiscal Quarter, and
consolidated statements of income and cash flows of Grace and its consolidated Subsidiaries for
such Fiscal Quarter, all in reasonable detail and certified by an Authorized Officer of Grace to
present fairly in all material respects the financial condition, results of operations and other
information reflected therein and to have been prepared in accordance with GAAP (subject to
year-end audit adjustments and the absence of footnotes).

               (iv)    Officer’s Certificates. Grace shall furnish to the Permitted Holder:

                        (A) If the financial results of Grace are no longer consolidated with the
financial results of the Parent Guarantor, no later than ninety (90) days after the last day of each
of Grace’s Fiscal Years and no later than forty-five (45) days after the end of each of the first
three Fiscal Quarters in each Fiscal Year of Grace, a Quarterly EBITDA and Valuation
Certificate executed by an Authorized Officer of Grace setting forth (I) if the Transaction Date of
a Significant Transaction has occurred during the four-Fiscal Quarter period ending on the last
day of such Fiscal Quarter or Fiscal Year, as the case may be, the Pro Forma EBITDA of Grace
for such four-Fiscal Quarter period and the Pro Forma Valuation of Grace as of the last day of
such four-Fiscal Quarter period or (II) if the Transaction Date of a Significant Transaction did
not occur during the four-Fiscal Quarter period ending on the last day of such Fiscal Quarter or
Fiscal Year, as the case may be, the EBITDA of Grace for such four-Fiscal Quarter period and
the Valuation of Grace as of the last day of such four-Fiscal Quarter period; provided, however,
that Grace shall not be required to furnish to the Permitted Holder a Quarterly EBITDA and
Valuation Certificate under this subclause (A) if (x) Grace is filing or furnishing reports with the
United States Securities and Exchange Commission pursuant to Section 13 or 15 of the
Securities Exchange Act of 1934, and (y)(1) if the Transaction Date of a Significant Transaction
has occurred during the four-Fiscal Quarter period ending on the last day of the applicable Fiscal
Quarter or Fiscal Year, the Pro Forma EBITDA of Grace for such four-Fiscal Quarter period and
the Pro Forma Valuation of Grace as of the last day of such four-Fiscal Quarter period is readily
ascertainable from such reports or (2) if the Transaction Date of a Significant Transaction did not
occur during the four-Fiscal Quarter period ending on the last day of the applicable Fiscal
Quarter or Fiscal Year, the EBITDA of Grace for such four-Fiscal Quarter period and Valuation
of Grace as of the last day of such four-Fiscal Quarter period is readily ascertainable from such
reports;

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                    (B) no later than ninety (90) days after the last day of each of Grace’s
Fiscal Years, a Compliance Certificate executed by an Authorized Officer of Grace for such
Fiscal Year; and

                      (C) no later than thirty (30) days after the consummation by a Transferor
of a Disposition Transaction of the type described in clause (ii) or clause (iii) of Section 6(b), a
Post-Transaction Certificate setting forth the Post-Transaction Pro Forma EBITDA of Grace
with respect to such Disposition Transaction executed and delivered by an Authorized Officer of
Grace.

        (b) Negative Covenant. Grace shall not, and shall cause each of its Subsidiaries and
Controlled Affiliates (each, a “Transferor”) to not, sell, assign, transfer, license, lease or
otherwise dispose of (each, a “Transfer”) any property and/or other assets and/or enter into any
transaction or obligation, whether constituting or by way of merger, consolidation, sale of assets
or other disposition, reorganization, recapitalization, dividend, other distribution, or otherwise, or
any related series of the foregoing (any such Transfer other than Ordinary Dividends, Bona Fide
Compensation Transactions and other Transfers in the ordinary course of business, a
“Disposition Transaction”), if the Transferor (taken together with all of its direct and indirect
wholly owned Subsidiaries) would (1) receive (directly or indirectly) less than a reasonably
equivalent value in such Disposition Transaction, (2) become or be rendered Insolvent as a result
of such Transfer and/or such Disposition Transaction, or (3) be engaged in business and/or
transactions, and/or would be about to engage in business and/or transactions, for which the
Transferor’s (taken together with all of its direct and indirect wholly owned Subsidiaries)
remaining property and other assets would be unreasonably small capital; provided, however,
that notwithstanding the foregoing, a Transferor:

               (i)    that is a direct or indirect wholly-owned Subsidiary of Grace may make a
Transfer to or engage in a Disposition Transaction exclusively with Grace or any other direct or
indirect wholly-owned Subsidiary of Grace;

               (ii)    may engage in a Disposition Transaction whereby such Transferor (A)
pays or makes (directly or indirectly) dividends or distributions (whether in cash, securities or
other property) with respect to any of its Capital Stock (including by way of a spin-off or spin-
out of any of its assets), or (B) repurchases its Capital Stock, provided that, in the case of any
Disposition Transaction under subclause (A) or (B) above, all of the following conditions are
satisfied:

          1. no Event of Default has occurred and is continuing at the time of, or would result
       from, such Disposition Transaction;

          2. as of the Transaction Date of such Disposition Transaction, the Post-Transaction
       Pro Forma Valuation of (x) the Parent Guarantor or (y) Grace shall equal or exceed the
       Threshold Amount; and

            3. if such Disposition Transaction exceeds $15,000,000 and is not publicly disclosed
       at least 10 days prior to the consummation of such Disposition Transaction, then Grace
       shall provide the Permitted Holder with at least 10 days prior to the consummation of

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       such Disposition Transaction, a written notice describing in reasonable detail the material
       terms of such Disposition Transaction and setting forth the Post-Transaction Pro Forma
       Valuation of Grace as of the Transaction Date of such Disposition Transaction; and

                (iii)  other than as set forth in Section 6(b)(ii) above, shall not enter into any
Disposition Transaction with a Related Party to the Transferor in which the aggregate value of
the assets or other property Transferred in such Disposition Transaction to such Related Party
exceeds $15,000,000 if the Transferor (taken together with all of its direct and indirect wholly
owned Subsidiaries) would (1) receive (directly or indirectly) less than a reasonably equivalent
value in such Disposition Transaction, as determined by a reputable investment bank or valuation
firm jointly selected by Grace and the Permitted Holder, (2) become or be rendered Insolvent as
a result of such Transfer and/or such Disposition Transaction or (3) be engaged in business
and/or transactions, and/or would be about to engage in business and/or transactions, for which
the Transferor’s (taken together with all of its direct and indirect wholly owned Subsidiaries)
remaining property and other assets would be unreasonably small capital; provided, that if the
aggregate value of the assets or other property Transferred to such Related Party in such
Disposition Transaction exceeds $15,000,000 and the existence of such Disposition Transaction
is not publicly disclosed at least 10 days prior to the consummation of such Disposition
Transaction, then Grace shall provide the Permitted Holder with at least 10 days’ prior to the
consummation of such Disposition Transaction, a written notice describing in reasonable detail
the material terms of such Disposition Transaction and setting forth the Post-Transaction Pro
Forma Valuation of Grace as of the Transaction Date of such Disposition Transaction;

                 provided further that if Grace is not the surviving or succeeding Entity as a result
of any Disposition Transaction (but in the case of a sale of assets, only if such sale involves a
sale of all or substantially all of the assets of Grace) otherwise permitted by the exceptions to this
Section 6(b), such Disposition Transaction shall be permitted under this Section 6(b) only if
Grace and the Parent Guarantor shall comply with the requirements of Section 16(g).

7.     Subordination Terms. Any and all obligations of Grace in respect of Deferred
       Payments (PI) and this Deferred Payment Agreement (PI) shall be subordinated and
       otherwise junior at all times in right of payment and in all other respects, in the manner
       and to the extent set forth herein, to any and all present and future obligations of Grace in
       respect of any Senior Indebtedness.

       (a) Blockage of Deferred Payments (PI).

               (i)     If any payment default occurs and is continuing beyond any applicable
grace period pursuant to the terms and conditions of any Senior Indebtedness (a “Senior Payment
Default”), then subject to Section 7(g), no payment or distribution of cash, securities or any other
assets shall be made by Grace with respect to any Deferred Payments (PI) or pursuant to the
Deferred Payment Documents (PI) for as long as such Senior Payment Default is continuing.

               (ii)   If any default other than a Senior Payment Default occurs pursuant to the
terms and conditions of any Designated Senior Indebtedness that would allow the holders thereof
to accelerate the maturity thereof (a “Senior Non-Payment Default”), then subject to Section
7(g), no payment or distribution of cash, securities or any other assets shall be made by Grace

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with respect to any Deferred Payments (PI) or pursuant to the Deferred Payment Documents (PI)
during the period (the “Payment Blockage Period”) (x) beginning on the date that the Permitted
Holder receives from the Entity entitled to give notice under any document evidencing such
Designated Senior Indebtedness (or from Grace acting at the direction or request of such Entity)
a written notice (a “Payment Blockage Notice”) that such a Senior Non-Payment Default has
occurred and is continuing and (y) ending on the earliest to occur of (1) 180 days from the date
the Permitted Holder shall have received the Payment Blockage Notice, (2) the date such Senior
Non-Payment Default shall have been cured or waived or shall have ceased to exist and (3) the
date such Payment Blockage Period shall have been terminated by written notice to the Permitted
Holder from the Entity initiating such Payment Blockage Period.

               (iii)  Notwithstanding the foregoing, (A) in no event will a Payment Blockage
Period extend beyond 180 days from the date the Payment Blockage Notice in respect thereof
was received by the Permitted Holder, (B) there shall be a period of at least 180 consecutive days
in each period of 360 consecutive days when no Payment Blockage Period is in effect, and (C)
no Senior Non-Payment Default that existed or was continuing on the date of delivery of any
Payment Blockage Notice (whether or not such Senior Non-Payment Default is with respect to
the same issue of Designated Senior Indebtedness) may be, or be made, the basis for a
subsequent Payment Blockage Notice, unless such Senior Non-Payment Default has been cured
or waived for a period of not less than 90 consecutive calendar days.

               (iv)    The making of Deferred Payments (PI) or other payments pursuant to this
Deferred Payment Agreement (PI) shall resume, and any Deferred Payments (PI) or other
payments pursuant to this Deferred Payment Agreement (PI) not paid due to a suspension thereof
pursuant to clause (i) or clause (ii) of this Section 7(a) shall be paid, together with accrued
interest thereon at the Default Rate, when such suspension is no longer in effect (either due to
cure or waiver of the relevant Senior Payment Default or the expiration or termination of the
Payment Blockage Period pursuant to clause (i) or clause (ii) of this Section 7(a)) unless a
subsequent Payment Blockage Notice has been delivered in accordance with clause (iii) of this
Section 7(a) and is not prohibited from being delivered by clause (iii) of this Section 7(a).

               (v)     The failure of Grace to make any Deferred Payments (PI) or to pay any
other amounts under this Deferred Payment Agreement (PI) by reason of the operation of this
Section 7(a) shall not be construed as preventing the occurrence of an Event of Default or from
characterizing any Deferred Payments (PI) as “past due” for purposes of Section 9(c).

        (b) Proceedings. Upon any payment made by Grace, or any distribution of cash,
securities or other assets of any kind of Grace (other than securities issued in substitution for the
obligation to make Deferred Payments (PI) that are subordinated to at least the extent described
herein for Deferred Payments (PI), which Securities the Permitted Holder (or any Permitted
Payee, if applicable) is specifically authorized to receive notwithstanding any other provision of
this Section 7), to creditors in any Proceeding with respect to Grace or its properties, all
obligations due on all Senior Indebtedness shall first be paid in full in cash before any payment
or distribution is made on account of any Deferred Payments (PI) or otherwise pursuant to the
Deferred Payment Documents (PI).



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        (c) Improper Payments Held in Trust. Any payments or property received by the
Permitted Holder or any Permitted Payee in breach of this Section 7 shall be held by the
Permitted Holder or such Permitted Payee in trust and promptly delivered in the form received to
the holder of Senior Indebtedness entitled to receive the same (any such payment or property
delivered by the Permitted Holder or such Permitted Payee to any holder of Senior Indebtedness,
a “Turnover Payment”). To the maximum extent permitted under applicable Law, Grace agrees
that any Turnover Payment shall be treated as a payment by Grace on account of such Senior
Indebtedness and shall not satisfy Grace’s obligation with respect to any amount due to the
Permitted Holder or such Permitted Payee under this Deferred Payment Agreement (PI). If,
notwithstanding the preceding sentence, it is determined (by a court of competent jurisdiction or
otherwise) that a Turnover Payment is a payment by Grace on account of, and satisfies any
obligation of Grace with respect to, any amount due to the Permitted Holder or any Permitted
Payee under this Deferred Payment Agreement (PI), then, to the extent of the amount of such
Turnover Payment, the portion of the obligation which has been determined to be paid and
satisfied by such Turnover Payment shall be reinstated and shall continue to be in full force and
effect as of the time immediately preceding the initial payment thereof by Grace to the Permitted
Holder or such Permitted Payee. If, notwithstanding the preceding sentence, any portion of an
obligation of Grace in respect of such Turnover Payment is not reinstated and continued to the
extent of the amount of the relevant Turnover Payment, then the Permitted Holder or the
applicable Permitted Payee shall, upon the payment in full in cash of all Senior Indebtedness
owed to the holder thereof to whom the Permitted Holder or such Permitted Payee delivered such
Turnover Payment, be subrogated to the rights of such holder to receive payments or
distributions applicable to such Senior Indebtedness, and for the purpose of such subrogation
such Turnover Payment shall not, as between Grace and the Permitted Holder or such Permitted
Payee, be deemed to be payment by Grace to or on account of such Senior Indebtedness.

        (d) Remedies Blockage. Subject in any event to the other terms and conditions of this
Section 7 (including Section 7(a) and Section 7(g)), and not in abrogation thereof, if an Event of
Default has occurred and is continuing and any Senior Indebtedness is then outstanding, the
Permitted Holder hereby agrees for itself and its assigns that it will not (1) exercise or seek to
exercise any rights or remedies against Grace or the Parent Guarantor with respect to such Event
of Default or (2) institute any action or proceeding with respect to such rights or remedies
(including any action of foreclosure, contest or protest) under any Deferred Payment Document
(PI) or any agreement or document relating thereto, or under such Event of Default or otherwise
or (3) attempt to do any of the foregoing (collectively, the “Remedies”), for a period
commencing on the date that such Event of Default occurs and ending on the earliest to occur of
(i) 180 days after the first date on which such Event of Default shall have occurred, (ii) the
commencement of a Proceeding with respect to Grace, the Parent Guarantor or their respective
properties, (iii) the date that the holder (or any agent or trustee of the holder) of any Senior
Indebtedness commences exercising any Senior Remedies with respect to such Senior
Indebtedness (including, without limitation, the acceleration of all or any portion of such Senior
Indebtedness) and (iv) the payment in full in cash of all Senior Indebtedness.

        (e) Notwithstanding the foregoing, as applied to the Permitted Holder, the term
“Remedies” shall not include, and the Permitted Holder shall not be impaired by Section 7(d)
from doing, any of the following: (A) exercising rights and remedies for specific performance or
injunctive relief to compel Grace or the Parent Guarantor to comply with any non-payment

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obligations under the Deferred Payment Documents (PI) (including commencing any action
contemplated by Section 16(h)), (B) instituting or maintaining any suit or action solely to prevent
the running of any applicable statute of limitations, (C) accruing interest on the Deferred
Payments (PI) at the Default Rate pursuant to Section 9(c) and (D) giving any notice (including
notice of an Event of Default) to Grace under the Deferred Payment Documents (PI).

        (f) No Secured Obligation. Except for the Parent Guarantee and the share issuance
obligation with respect to the Section 524(g) Shares as and to the extent contemplated in the
Share Issuance Agreement, no credit support or security interest shall be granted by Grace, the
Parent Guarantor or any of its Subsidiaries in connection with, or otherwise support or secure
any obligation set forth in, the Deferred Payment Documents (PI). Notwithstanding the
foregoing, the Permitted Holder may obtain to the extent permitted under applicable Law a
judgment lien on the properties of Grace and/or the Parent Guarantor to secure the payment and
performance of a judgment obtained by the Permitted Holder against Grace and/or the Parent
Guarantor.

        (g) No Impairment of Right to Receive Section 524(g) Shares or Warrant Shares.
Nothing in this Section 7 shall impair the rights of the Trust (PI) (or its permitted successor or
assigns) (i) acting through the Trusts’ Representative pursuant to the Intercreditor Agreement, to
deliver to the Parent Guarantor a Demand for Issuance of the Section 524(g) Shares and to
receive the Trust (PI)’s percentage of the Section 524(g) Shares pursuant to the Share Issuance
Agreement or (ii) to exercise all or any portion of the Warrant and to receive the shares of
Common Stock in connection therewith.

        (h) Further Assurances. At the reasonable request of Grace or the Parent Guarantor, the
Permitted Holder will, at the sole expense of Grace and the Parent Guarantor, execute such
agreements, documents, certificates and/or other instruments confirming the existence and extent
of the subordination terms detailed in this Section.

8.     Events of Default. The occurrence of any of the following events shall constitute an
       “Event of Default” under this Deferred Payment Agreement (PI):

        (a) Neither Grace nor any Permitted Payor shall make (i) any Deferred Payment (PI) on
any Deferred Payment Date (PI) and such failure shall continue for five (5) Business Days after
the relevant Deferred Payment Date (PI) or (ii) any payment of interest at the Default Rate owing
under this Deferred Payment Agreement (PI) within seven (7) Business Days after demand
therefor by the Permitted Holder (or the Permitted Payee, if applicable) entitled thereto;

        (b) Grace or the Parent Guarantor (A) shall institute any proceeding or voluntary case
seeking to adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation, winding up,
reorganization, arrangement, adjustment, protection, relief or composition of it or its debts
pursuant to any law relating to bankruptcy, insolvency, reorganization or relief of debtors, or
seeking the entry of an order for relief or the appointment of a receiver, trustee, custodian or
other similar official for any such Entity or for any substantial part of its property, (B) shall be
generally not paying its debts as such debts become due or shall admit in writing its inability to
pay its debts generally, or (C) shall make a general assignment for the benefit of creditors;


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       (c) Any proceeding shall be instituted against Grace or the Parent Guarantor seeking to
adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation, winding up,
reorganization, arrangement, adjustment, protection, relief of debtors, or seeking the entry of an
order for relief or the appointment of a receiver, trustee, custodian or other similar official for
any such Entity or for any substantial part of its property, and either such proceeding shall
remain undismissed or unstayed for a period of sixty (60) consecutive days;

        (d) Grace shall breach any covenant set forth in Section 6(a)(i), or the Parent Guarantor
shall breach any covenant set forth in Section 7(a)(i) of the Parent Guarantee (PI), and in any
such case such breach shall continue for thirty (30) days after the earlier of (A) any Authorized
Officer of Grace obtains knowledge of such failure and (B) the Permitted Holder’s written notice
to Grace and the Parent Guarantor of such failure;

        (e) Grace shall breach any covenant set forth in Section 6(a)(iv)(A), or the Parent
Guarantor shall breach any covenant set forth in Section 7(a)(iv)(A) of the Parent Guarantee (PI),
and in any such case such breach shall continue for ten (10) days after the Permitted Holder’s
written notice to Grace and the Parent Guarantor of such breach;

       (f) Grace shall breach any covenant set forth in Section 6(b) (other than any notice
requirement set forth therein), or the Parent Guarantor shall breach any covenant set forth in
Section 7(b) of the Parent Guarantee (PI) (other than any notice requirement set forth therein),
and in any such case, as of the Transaction Date of the Disposition Transaction that resulted in
such breach, the Post-Transaction Pro Forma Valuation of the Parent Guarantor shall not exceed
the Threshold Amount and the Post-Transaction Pro Forma Valuation of Grace shall not exceed
the Threshold Amount;

        (g) (i) Neither Grace nor the Parent Guarantor shall deliver the written notice required by
Section 6(b) of this Deferred Payment Agreement (PI) or Section 7(b) of the Parent Guarantee
(PI) with respect to a Disposition Transaction on or prior to the date required by Section 6(b) of
this Deferred Payment Agreement (PI) or Section 7(b) of the Parent Guarantee (PI), as
applicable, and (ii) as of the four-Fiscal Quarter period ended most recently prior to the
consummation of such Disposition Transaction, either (A) if the Transaction Date of a
Significant Transaction has occurred during such four-Fiscal Quarter period, the Pro Forma
Valuation of Grace and the Pro Forma Valuation of Parent Guarantor were each less than the
Threshold Amount, or (B) if the Transaction Date of a Significant Transaction has not occurred
during such four-Fiscal Quarter period, the Valuation of Grace and the Valuation of the Parent
Guarantor were each less than the Threshold Amount;

       (h) Grace or the Parent Guarantor shall assert in writing that any Deferred Payment
Document (PI) or any material term thereof is not a legal, valid and binding obligation of Grace
or the Parent Guarantor, as the case may be, enforceable in accordance with its terms in any
material respect; or

       (i) A default occurs under the Deferred Payment Agreement (PD) or the Deferred
Payment Agreement (ZAI) that causes any of the Deferred Payments due under either or both the
Deferred Payment Agreement (PD) or the Deferred Payment Agreement (ZAI), respectively, to
be accelerated and become due prior to its or their stated maturity.

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9.     Remedies.

        (a) Subject to Section 7, the Permitted Holder shall have the right, power and authority to
do all things deemed necessary or advisable to enforce the provisions of, and protect its rights
under, this Deferred Payment Agreement (PI) and upon the occurrence and during the
continuance of an Event of Default the Permitted Holder may institute or appear in such
appropriate proceedings permitted and not prohibited under this Deferred Payment Agreement
(PI) as the Permitted Holder shall deem most effectual to protect and enforce any of its rights
hereunder, whether for the specific enforcement of any covenant or agreement in this Deferred
Payment Agreement (PI) or to enforce any other proper remedy.

       (b) Subject to Section 7, without limiting the foregoing, upon the occurrence and during
the continuance of an Event of Default, the Permitted Holder may declare the unpaid Deferred
Payments (PI), together with all other amounts payable hereunder, to be immediately due and
payable, whereupon such Deferred Payments (PI) and other amounts shall become forthwith due
and payable, without presentment, demand, protest or any other notice of any kind (except that in
the case of an Event of Default of the type described in subsection (b) or (c) under Section 8,
such acceleration shall occur without any action of the Permitted Holder or any other Entity).

        (c) In addition, upon the occurrence and during the continuance of an Event of Default,
all Deferred Payments (PI) that are past due shall accrue interest at the Default Rate, which,
subject to the terms of Section 7, shall be payable to the Permitted Holder on demand until such
Event of Default shall have been cured or waived, or all remaining Deferred Payments (PI) shall
have been paid in full.

10.    Waiver. There shall be no implied waiver based upon any delay on the part of any party
       hereto in exercising any right or remedy such party may have pursuant to this Deferred
       Payment Agreement (PI).

11.    Termination. Upon all of the Deferred Payments (PI) and other amounts payable
       hereunder having been paid in full, any and all obligations under this Deferred Payment
       Agreement (PI) shall be discharged and this Deferred Payment Agreement (PI) shall
       terminate without any further action by the parties thereto or any other Entity (except to
       the extent all or any portion of any Deferred Payment (PI) or such other amount is
       reinstated pursuant to Section 4(d) or to the extent any provision hereof expressly
       survives the termination of this Deferred Payment Agreement (PI)). Promptly upon such
       termination, the Permitted Holder shall execute and deliver to Grace, at Grace’s sole cost
       and expense, such documents as are reasonably requested by Grace to fully document the
       payment, termination and discharge of all obligations hereunder.

12.    Severability. Whenever possible, each provision of this Deferred Payment Agreement
       (PI) will be interpreted in such manner as to be effective and valid under applicable Law,
       but if any provision of this Deferred Payment Agreement (PI) by any party hereto is held
       to be invalid, void, voidable, illegal or unenforceable in any respect under any applicable
       Law in any jurisdiction, such event will not affect any other provision or the effectiveness
       or validity of any provision in any other jurisdiction, or the obligations of any other party
       to this Deferred Payment Agreement (PI), and this Deferred Payment Agreement (PI)

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       will be reformed, construed and enforced in such jurisdiction as if such invalid, void,
       voidable, illegal, unenforceable or rejected provision had never been contained herein.
       The parties hereto further agree to use commercially reasonable efforts to replace such
       invalid, void, voidable, illegal, unenforceable or rejected provision of this Deferred
       Payment Agreement (PI) with a an effective, valid and enforceable provision which will
       achieve, to the fullest extent possible, the economic, business and other purposes of the
       invalid, void, voidable, illegal, unenforceable or rejected provision.

13.    Complete Agreement. This Deferred Payment Agreement (PI), together with the Parent
       Guarantee (PI), the Share Issuance Agreement, the Plan of Reorganization and the
       Confirmation Order, embodies the complete agreement and understanding between the
       parties hereto in respect of the subject matter hereof and supersedes, preempts and
       terminates all other prior understandings, agreements or representations by or among the
       parties hereto, written or oral, to the extent relating thereto.

14.    Counterparts. This Deferred Payment Agreement (PI) may be executed (including by
       facsimile or portable document format (pdf)) in separate counterparts, each of which will
       be deemed to be an original and all of which taken together will constitute one and the
       same agreement.

15.    No Third Party Beneficiaries. Other than the Parent Guarantor, there are no third party
       beneficiaries of this Deferred Payment Agreement (PI) and nothing in this Deferred
       Payment Agreement (PI), express or implied, is intended to confer on any Entity other
       than the parties hereto and their respective successors, and assigns, any rights, remedies,
       obligations or liabilities.

16.    Assignment.

       (a) This Deferred Payment Agreement (PI) shall be binding upon Grace and its
successors and permitted assigns and shall inure to the benefit of the Permitted Holder and its
successors and permitted assigns.

        (b) Except as expressly permitted by Section 16(c) and Section 16(d) with respect to this
Deferred Payment Agreement (PI), as expressly set forth in Section 16(b) of the Parent
Guarantee (PI) with respect to the Parent Guarantor or as expressly set forth in Section 12(b) of
the Share Issuance Agreement, in no event shall (i) any Deferred Payment Document (PI) or any
rights, interests, duties, obligations or liabilities of the Permitted Holder under the Deferred
Payment Documents (PI) (including this Deferred Payment Agreement (PI)), the Plan of
Reorganization or the Confirmation Order be Transferred to, or assumed by, any Entity or (ii) the
Permitted Holder grant a security interest in any right or interest it has or may have under any
Deferred Payment Document (PI) (including this Deferred Payment Agreement (PI)), in each
case, without the prior written consent of Grace and the Parent Guarantor.

       (c) Subject to compliance with sub-clauses (d)(1) and (d)(2) below, upon the occurrence
and during the continuance of an Event of Default, the Permitted Holder shall have the right to
Transfer, in whole or in part, or grant a security interest in, this Deferred Payment Agreement
(PI) or all or any of its rights, interests, duties, liabilities or obligations under this Deferred

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Payment Agreement (PI) without the prior written consent of Grace or the Parent Guarantor.
Any such Transfer or grant, if made in compliance with this Section 16(c), shall be effective
notwithstanding any subsequent cure or waiver of any Event of Default.

        (d) Subject to compliance with sub-clauses (d)(1) through (d)(5) below, the Permitted
Holder shall have the right, at any time and from time to time, to Transfer, in whole or in part, or
grant a security interest in, this Deferred Payment Agreement (PI) or all or any of its rights,
interests, duties, liabilities or obligations under this Deferred Payment Agreement (PI):

          1. The Trust (PI) shall provide notice of such Transfer to Grace and the Parent
       Guarantor in accordance with NY UCC § 9-406 or any successor provision.

           2. Unless expressly consented to in advance in writing by Grace and the Parent
       Guarantor, such Transfer or such grant of a security interest shall not adversely change
       the duty of, increase the burden, costs or risk imposed upon, or impair the chance of
       obtaining return performance of, either Grace or the Parent Guarantor under any of the
       Deferred Payment Documents (PI), as such terms are used, with respect to an assignment
       or other Transfer, in NY UCC § 2-210(2) or any successor provision, and any such
       Transfer or grant of a security interest shall not result in increased liabilities or costs for
       Grace and/or the Parent Guarantor (including on account of any Taxes).

           3. Unless expressly consented to in advance in writing by Grace and the Parent
       Guarantor, upon and following such Transfer or such grant of a security interest, no more
       than one Entity on behalf of the Trust (PI) and all Entities to whom Transfers have been
       made (the “Administrative Agent”) and one Entity on behalf of all recipients of grants of
       security interests (the “Collateral Agent”) shall have, or shall have the ability to bring, or
       be able to enforce, any claim, right or cause of action against Grace, the Parent Guarantor
       or any of their respective Affiliates (other than the Trust (PI)) under this Deferred
       Payment Agreement (PI) or any document or instrument effecting or evidencing such
       Transfer or grant of a security interest, regardless of whether any such claim, right, cause
       of action, or enforcement right arises out of a contract, statute, law, in equity, common
       law or otherwise.

          4. Any such Transfer or such grant of a security interest shall comply with all
       applicable Laws, including all applicable federal, state and foreign securities laws.

           5. No such Transfer and no such grant of a security interest shall relieve the Trust
       (PI) of any of its duties or obligations under this Deferred Payment Agreement (PI), the
       other Deferred Payment Documents (PI), the Plan of Reorganization, the Confirmation
       Order or any agreements entered into by the Trust (PI) pursuant to the Plan of
       Reorganization or the Confirmation Order.

        (e) Subject to Section 16(f), Grace may not Transfer its rights, interests, duties, liabilities
or obligations under this Deferred Payment Agreement (PI) without the prior written consent of
the Permitted Holder, such consent not to be unreasonably withheld, conditioned or delayed.

      (f) Subject to Section 16(g), neither Section 16(e) nor anything else in this Deferred
Payment Agreement (PI) or any other Deferred Payment Document (PI) shall prohibit or restrict
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the ability of Grace to undertake any Disposition Transaction; provided that, unless the Permitted
Holder otherwise consents in writing, (i) such Disposition Transaction shall not violate
Section 6(b), (ii) no Event of Default and, no event which, with the giving of notice or the
passage of time, or both, would constitute an Event of Default, exists at the time of, or would
exist immediately following, the consummation of such Disposition Transaction; (iii) such
Disposition Transaction does not conflict with, or result in a breach of, any of the provisions of,
or constitute a default under, the Governing Documents of Grace or the surviving or succeeding
Entity that results from such Disposition Transaction; and (iv) at least ten (10) days prior to
consummation of such Disposition Transaction, Grace shall, subject to reasonable confidentiality
arrangements between the Permitted Holder and Grace, deliver to the Permitted Holder written
notice of its intention to consummate such Disposition Transaction.

         (g) If the surviving or succeeding Entity as a result of any such Disposition Transaction
(but in the case of a sale of assets, only if such sale involves a sale of all or substantially all of
the assets of Grace) as applicable, is not Grace, then prior to, or concurrently with, the
consummation of any such Disposition Transaction, (i) the surviving or succeeding Entity shall
by written instrument substantially in the form of Exhibit A signed by such Entity, Grace and, at
its option, the Permitted Holder expressly assume the rights and obligations of Grace hereunder,
whereupon such Entity shall be the successor of all rights and obligations of Grace hereunder,
with the same effect as if it had been originally named herein (it being expressly acknowledged
and agreed by Grace and the Permitted Holder that such written instrument shall, and shall
expressly provide that it shall, be binding upon, and inure to the benefit of, the Permitted Holder,
Grace and such surviving or succeeding Entity whether or not the Permitted Holder shall have
executed such written instrument) and (ii) the Parent Guarantor shall confirm in writing to such
Entity, Grace and the Permitted Holder that the Parent Guarantee (PI) shall remain in full force
and effect after giving effect to such Disposition Transaction and the assumption by the
surviving or succeeding Entity of all of the rights and obligations hereunder; provided, however,
that Grace shall not be discharged from, and shall remain liable for, any and all of its duties,
liabilities and obligations under this Deferred Payment Agreement (PI).

        (h) Grace shall be responsible for, and shall pay promptly upon demand all, documented
and direct out-of-pocket costs and expenses incurred by the Permitted Holder (including legal
fees and expenses of legal counsel) in connection with any Disposition Transactions proposed by
Grace pursuant to Section 16(f) if the Permitted Holder challenges such Disposition Transaction
in a judicial or other proceeding or otherwise as being in breach of the provisions of the Deferred
Payment Documents (PI) and the Permitted Holder is successful in such challenge.

       (i) Any Transfer in breach of this Section 16 shall be null and void, and shall not
Transfer any right, interest, duty, liability or obligation in or under this Deferred Payment
Agreement (PI) to any other Entity.

17.    Governing Law; Submission to Jurisdiction; Waiver of Jury Trial.

        (a) This Deferred Payment Agreement (PI) and the rights and obligations of the parties
hereto shall be construed in accordance with the laws of the State of New York, without giving
effect to any choice or conflict of law provision or rule (whether of the State of New York or any


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other jurisdiction) that would cause the application of the laws of any jurisdiction other than the
State of New York.

        (b) With respect to claims, suits, actions, proceedings, and other disputes arising out of,
in respect of or relating to this Deferred Payment Agreement (PI) (such claims, suits, actions,
proceedings, and other disputes, the “Claims”) each of the parties to this Deferred Payment
Agreement (PI) hereby irrevocably submits to the jurisdiction of the Bankruptcy Court for the
District of Delaware or the United States District Court for the District of Delaware (the
“Courts”), or, if both such Courts are not permitted under applicable Law to exercise jurisdiction
with respect to the matter in question then to the jurisdiction of any other federal or state court in
the state, county and city of New York, New York and each of the parties to this Deferred
Payment Agreement (PI) agrees that any and all Claims may be brought, heard and determined in
such courts.

        (c) Each of the parties to this Deferred Payment Agreement (PI) agrees that (i) venue
shall be proper in the courts referenced in Section 17(b) and hereby waives any objection or
defense which it may now or hereafter have to the laying of venue in such courts, including any
of the foregoing based upon the doctrine of forum non conveniens; and (ii) all process which may
be or be required to be served in respect of any such Claim (including any pleading, summons or
other paper initiating any such Claim) may be served upon it, which service shall be sufficient
for all purposes, in the manner for the provision of notice under this Deferred Payment
Agreement (PI) and shall be deemed in every respect effective service of process upon such
party when so given.

      (d) EACH PARTY HERETO HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT OF,
UNDER OR IN CONNECTION WITH THIS AGREEMENT OR ANY OF THE DEFERRED
PAYMENT DOCUMENTS (PI). EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER DEFERRED
PAYMENT DOCUMENTS (PI), AS APPLICABLE, BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS PROVISION.

18.    Notices. All notices required or permitted under this Deferred Payment Agreement (PI)
       must be in writing and will be deemed to be delivered and received (i) if personally
       delivered or if delivered by the United States Postal Service, facsimile or courier service,
       when actually received by the party to whom notice is sent or (ii) with respect to parties
       located other than within the United States, if deposited with the United States Postal
       Service (whether actually received or not), at the close of business on the seventh
       Business Day after the day when placed in the mail, postage prepaid, certified or
       registered with return receipt requested, addressed to the appropriate party or parties, at
       the address of such party or parties set forth below (or at such other address as such party
       may designate by written notice to all other parties in accordance with this Section 18):

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      If to Grace:                  With copies,       Kirkland & Ellis LLP
                                    which shall not    Citigroup Center
      W. R. Grace & Co.-Conn.       constitute         153 E. 53rd Street
      7500 Grace Drive              notice, to:        New York, NY 10022-4675
      Columbia, MD 21044                               Attn: Theodore L. Freedman &
      Attn: Corporate Secretary                        Thomas W. Christopher
      Facsimile: (410) 531-4545                        Facsimile: (212) 446-4900

      If to the Parent              With copies,       Kirkland & Ellis LLP
      Guarantor:                    which shall        Citigroup Center
                                    not constitute     153 E. 53rd Street
      W. R. Grace & Co.             notice, to:        New York, NY 10022-4675
      7500 Grace Drive                                 Attn: Theodore L. Freedman &
      Columbia, MD 21044                               Thomas W. Christopher
      Attn: Corporate Secretary                        Facsimile: (212) 446-4900
      Facsimile: (410) 531-4545

      If to the Permitted           With copies,
      Holder:                       which shall        [Notice Street Address]
                                    not constitute     [City], [State] [Zip]
      WRG Asbestos Trust            notice, to:        Attn: [ ]
      [Notice Street Address]                          Facsimile: [ ]
      [City], [State] [Zip]
      Attn: [ ]
      Facsimile: [ ]
      (if sending overnight
      packages use zip code [ ])


19.   Costs and Expenses. Grace agrees to reimburse the Permitted Holder promptly upon
      demand for all, documented and direct out-of-pocket costs and expenses, including all
      attorney’s fees and expenses of legal counsel, which may be incurred by the Permitted
      Holder in enforcing this Deferred Payment Agreement (PI) or the Parent Guarantee (PI)
      or protecting the rights of the Permitted Holder hereunder or thereunder, but only to the
      extent that the Permitted Holder succeeds in enforcing this Deferred Payment Agreement
      (PI) or the Parent Guarantee (PI) or protecting the rights of the Permitted Holder
      hereunder or thereunder.

20.   Amendments and Waivers. No provision of this Deferred Payment Agreement (PI)
      may be waived, amended, supplemented or modified except by a written instrument
      executed by the Parent Guarantor, Grace and the Permitted Holder.

21.   Further Assurances. At the reasonable request of the Permitted Holder, Grace will, at
      the sole expense of the Permitted Holder, execute such agreements, documents,
      certificates and/or other instruments confirming the existence of this Agreement, the
      obligations of Grace hereunder and the rights of the Permitted Holder hereunder.

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22.   Specific Performance. Each of the parties hereto acknowledges and agrees that, in the
      event of any breach of, or any failure to perform, any specific provision of this Deferred
      Payment Agreement (PI), the non-breaching party would be irreparably and immediately
      harmed and could not be made whole by monetary damages. It is accordingly agreed
      that, subject to Section 7, the parties hereto (a) shall be entitled, in addition to any other
      remedy to which they may be entitled at law or in equity, to compel specific performance
      of any specific provision of this Deferred Payment Agreement (PI) or to obtain injunctive
      relief to prevent breaches of any specific provision of this Deferred Payment Agreement
      (PI) exclusively in the Courts, (b) shall waive, in any action for specific performance or
      injunctive relief, the defense of the adequacy of a remedy at law, and (c) shall waive any
      requirement for the securing or posting of any bond in connection with the obtaining of
      any such specific performance or injunctive relief. For the avoidance of doubt, the
      parties agree that the Permitted Holder shall be entitled to enforce specifically the terms
      and provisions of this Deferred Payment Agreement (PI) to prevent breaches of or
      enforce compliance with those covenants of Grace set forth in Section 6. Any party’s
      pursuit of specific performance or injunctive relief at any time will not be deemed an
      election of remedies or waiver of the right to pursue any other right or remedy to which
      such party may be entitled, including the right to pursue remedies for liabilities or
      damages incurred or suffered by such party.

23.   Other Remedies. Except as otherwise provided herein, any and all remedies herein
      expressly conferred upon a party shall be deemed cumulative with and not exclusive of
      any other remedy conferred hereby or by law on such party, and the exercise of any one
      remedy shall not preclude the exercise of any other.




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             IN WITNESS WHEREOF, the parties hereto have executed this Deferred
Payment Agreement (PI) as of the date first written above.



GRACE:                              W. R. GRACE & CO.-CONN.



                                    By: ______________________________
                                       Name:
                                       Title:




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TRUST (PI):                       WRG ASBESTOS PI TRUST



                                  By: ______________________________
                                     Name:
                                     Title: Trustee




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         Solely for purposes of Section 20:



PARENT GUARANTOR:                     W. R. GRACE & CO.



                                      By: ______________________________
                                         Name:
                                         Title:




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                        EXHIBIT A

                         FORM OF

                ASSUMPTION AGREEMENT


                         [To come]




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                        EXHIBIT B

                         FORM OF

     QUARTERLY EBITDA AND VALUATION CERTIFICATE


                         [To come]




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                        EXHIBIT C

                         FORM OF

                COMPLIANCE CERTIFICATE


                         [To come]




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                        EXHIBIT D

                         FORM OF

             POST-TRANSACTION CERTIFICATE


                         [To come]




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